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                              No. ______, Original


                 In the Supreme Court of the United States

                                STATE OF TEXAS,
                                                        Plaintiff,
                                       v.
                  COMMONWEALTH OF PENNSYLVANIA, STATE OF
                  GEORGIA, STATE OF MICHIGAN, AND STATE OF
                                 WISCONSIN,
                                                     Defendants.

                   MOTION FOR LEAVE TO FILE BILL OF
                             COMPLAINT

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                               No. ______, Original


                 In the Supreme Court of the United States

                                 STATE OF TEXAS,
                                                             Plaintiff,
                                          v.
                  COMMONWEALTH OF PENNSYLVANIA, STATE OF
                  GEORGIA, STATE OF MICHIGAN, AND STATE OF
                                 WISCONSIN,
                                                          Defendants.

                         MOTION FOR LEAVE TO FILE
                               BILL OF COMPLAINT
                    Pursuant to 28 U.S.C. § 1251(a) and this Court’s
               Rule 17, the State of Texas respectfully seeks leave to
               file the accompanying Bill of Complaint against the
               States of Georgia, Michigan, and Wisconsin and the
               Commonwealth of Pennsylvania (collectively, the
               “Defendant States”) challenging their administration
               of the 2020 presidential election.
                    As set forth in the accompanying brief and
               complaint, the 2020 election suffered from significant
               and unconstitutional irregularities in the Defendant
               States:
               • Non-legislative actors’ purported amendments to
                    States’ duly enacted election laws, in violation of
                    the Electors Clause’s vesting State legislatures
                    with     plenary   authority     regarding     the
                    appointment of presidential electors.
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               •   Intrastate differences in the treatment of voters,
                   with more favorable allotted to voters – whether
                   lawful or unlawful – in areas administered by
                   local government under Democrat control and
                   with populations with higher ratios of Democrat
                   voters than other areas of Defendant States.
               • The appearance of voting irregularities in the
                   Defendant States that would be consistent with
                   the unconstitutional relaxation of ballot-integrity
                   protections in those States’ election laws.
               All these flaws – even the violations of state election
               law – violate one or more of the federal requirements
               for elections (i.e., equal protection, due process, and
               the Electors Clause) and thus arise under federal law.
               See Bush v Gore, 531 U.S. 98, 113 (2000) (“significant
               departure from the legislative scheme for appointing
               Presidential electors presents a federal constitutional
               question”) (Rehnquist, C.J., concurring). Plaintiff
               State respectfully submits that the foregoing types of
               electoral irregularities exceed the hanging-chad saga
               of the 2000 election in their degree of departure from
               both state and federal law. Moreover, these flaws
               cumulatively preclude knowing who legitimately won
               the 2020 election and threaten to cloud all future
               elections.
                   Taken together, these flaws affect an outcome-
               determinative numbers of popular votes in a group of
               States that cast outcome-determinative numbers of
               electoral votes. This Court should grant leave to file
               the complaint and, ultimately, enjoin the use of
               unlawful election results without review and
               ratification by the Defendant States’ legislatures and
               remand to the Defendant States’ respective
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               legislatures to appoint Presidential Electors in a
               manner consistent with the Electors Clause and
               pursuant to 3 U.S.C. § 2.
               December 7, 2020          Respectfully submitted,

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                 In the Supreme Court of the United States

                                STATE OF TEXAS,
                                                        Plaintiff,
                                       v.
                  COMMONWEALTH OF PENNSYLVANIA, STATE OF
                  STATE OF GEORGIA, STATE OF MICHIGAN, AND
                            STATE OF WISCONSIN,
                                                     Defendants.

                            BILL OF COMPLAINT

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               “[T]hat form of government which is best contrived to
               secure an impartial and exact execution of the law, is
               the best of republics.”

               —John Adams



                              BILL OF COMPLAINT
                    Our Country stands at an important crossroads.
               Either the Constitution matters and must be followed,
               even when some officials consider it inconvenient or
               out of date, or it is simply a piece of parchment on
               display at the National Archives. We ask the Court to
               choose the former.
                    Lawful elections are at the heart of our
               constitutional democracy. The public, and indeed the
               candidates themselves, have a compelling interest in
               ensuring that the selection of a President—any
               President—is legitimate. If that trust is lost, the
               American Experiment will founder. A dark cloud
               hangs over the 2020 Presidential election.
                    Here is what we know. Using the COVID-19
               pandemic as a justification, government officials in
               the defendant states of Georgia, Michigan, and
               Wisconsin, and the Commonwealth of Pennsylvania
               (collectively, “Defendant States”), usurped their
               legislatures’ authority and unconstitutionally revised
               their state’s election statutes. They accomplished
               these statutory revisions through executive fiat or
               friendly lawsuits, thereby weakening ballot integrity.
               Finally, these same government officials flooded the
               Defendant States with millions of ballots to be sent
               through the mails, or placed in drop boxes, with little
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                                              2
               or no chain of custody1 and, at the same time,
               weakened the strongest security measures protecting
               the integrity of the vote—signature verification and
               witness requirements.
                   Presently, evidence of material illegality in the
               2020 general elections held in Defendant States grows
               daily. And, to be sure, the two presidential candidates
               who have garnered the most votes have an interest in
               assuming the duties of the Office of President without
               a taint of impropriety threatening the perceived
               legitimacy of their election. However, 3 U.S.C. § 7
               requires that presidential electors be appointed on
               December 14, 2020. That deadline, however, should
               not cement a potentially illegitimate election result in
               the middle of this storm—a storm that is of the
               Defendant States’ own making by virtue of their own
               unconstitutional actions.
                   This Court is the only forum that can delay the
               deadline for the appointment of presidential electors
               under 3 U.S.C. §§ 5, 7. To safeguard public legitimacy
               at this unprecedented moment and restore public
               trust in the presidential election, this Court should
               extend the December 14, 2020 deadline for Defendant
               States’ certification of presidential electors to allow
               these investigations to be completed. Should one of
               the two leading candidates receive an absolute
               majority of the presidential electors’ votes to be cast
               on December 14, this would finalize the selection of
               our President. The only date that is mandated under

               1       See https://georgiastarnews.com/2020/12/05/dekalb-
               county-cannot-find-chain-of-custody-records-for-absentee-
               ballots-deposited-in-drop-boxes-it-has-not-been-determined-if-
               responsive-records-to-your-request-exist/
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                the Constitution, however, is January 20, 2021. U.S.
                CONST. amend. XX.
                    Against that background, the State of Texas
                (“Plaintiff State”) brings this action against
                Defendant States based on the following allegations:
                            NATURE OF THE ACTION
                       1.     Plaintiff State challenges Defendant
                States’ administration of the 2020 election under the
                Electors Clause of Article II, Section 1, Clause 2, and
                the Fourteenth Amendment of the U.S. Constitution.
                       2.     This case presents a question of law: Did
                Defendant States violate the Electors Clause (or, in
                the alternative, the Fourteenth Amendment) by
                taking—or allowing—non-legislative actions to
                change the election rules that would govern the
                appointment of presidential electors?
                       3.     Those unconstitutional changes opened
                the door to election irregularities in various forms.
                Plaintiff State alleges that each of the Defendant
                States flagrantly violated constitutional rules
                governing the appointment of presidential electors. In
                doing so, seeds of deep distrust have been sown across
                the country. In the spirit of Marbury v. Madison, this
                Court’s attention is profoundly needed to declare what
                the law is and to restore public trust in this election.
                       4.     As Justice Gorsuch observed recently,
                “Government is not free to disregard the
                [Constitution] in times of crisis. … Yet recently,
                during the COVID pandemic, certain States seem to
                have ignored these long-settled principles.” Roman
                Catholic Diocese of Brooklyn, New York v. Cuomo, 592
                U.S. ____ (2020) (Gorsuch, J., concurring). This case is
                no different.
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                                            4
                         5.    Each of Defendant States acted in a
                common pattern. State officials, sometimes through
                pending litigation (e.g., settling “friendly” suits) and
                sometimes unilaterally by executive fiat, announced
                new rules for the conduct of the 2020 election that
                were inconsistent with existing state statutes defining
                what constitutes a lawful vote.
                         6.    Defendant States also failed to segregate
                ballots in a manner that would permit accurate
                analysis to determine which ballots were cast in
                conformity with the legislatively set rules and which
                were not. This is especially true of the mail-in ballots
                in these States. By waiving, lowering, and otherwise
                failing to follow the state statutory requirements for
                signature validation and other processes for ballot
                security, the entire body of such ballots is now
                constitutionally suspect and may not be legitimately
                used to determine allocation of the Defendant States’
                presidential electors.
                         7.    The rampant lawlessness arising out of
                Defendant States’ unconstitutional acts is described
                in a number of currently pending lawsuits in
                Defendant States or in public view including:
                • Dozens of witnesses testifying under oath about:
                     the physical blocking and kicking out of
                     Republican poll challengers; thousands of the
                     same ballots run multiple times through
                     tabulators; mysterious late night dumps of
                     thousands of ballots at tabulation centers;
                     illegally backdating thousands of ballots;
                     signature verification procedures ignored; more
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                    than 173,000 ballots in the Wayne County, MI
                    center that cannot be tied to a registered voter;2
                •   Videos of: poll workers erupting in cheers as poll
                    challengers are removed from vote counting
                    centers; poll watchers being blocked from entering
                    vote counting centers—despite even having a
                    court order to enter; suitcases full of ballots being
                    pulled out from underneath tables after poll
                    watchers were told to leave.
                •   Facts for which no independently verified
                    reasonable explanation yet exists: On October 1,
                    2020, in Pennsylvania a laptop and several USB
                    drives, used to program Pennsylvania’s Dominion
                    voting machines, were mysteriously stolen from a
                    warehouse in Philadelphia. The laptop and the
                    USB drives were the only items taken, and
                    potentially could be used to alter vote tallies; In
                    Michigan, which also employed the same
                    Dominion voting system, on November 4, 2020,
                    Michigan election officials have admitted that a
                    purported “glitch” caused 6,000 votes for
                    President Trump to be wrongly switched to
                    Democrat Candidate Biden. A flash drive
                    containing tens of thousands of votes was left
                    unattended in the Milwaukee tabulations center
                    in the early morning hours of Nov. 4, 2020,
                    without anyone aware it was not in a proper chain
                    of custody.



                2   All exhibits cited in this Complaint are in the Appendix to
                the Plaintiff State’s forthcoming motion to expedite (“App. 1a-
                151a”). See Complaint (Doc. No. 1), Donald J. Trump for
                President, Inc. v. Benson, 1:20-cv-1083 (W.D. Mich. Nov. 11,
                2020) at ¶¶ 26-55 & Doc. Nos. 1-2, 1-4.
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                       8.     Nor was this Court immune from the
                blatant disregard for the rule of law. Pennsylvania
                itself played fast and loose with its promise to this
                Court. In a classic bait and switch, Pennsylvania used
                guidance from its Secretary of State to argue that this
                Court should not expedite review because the State
                would segregate potentially unlawful ballots. A court
                of law would reasonably rely on such a representation.
                Remarkably, before the ink was dry on the Court’s 4-
                4 decision, Pennsylvania changed that guidance,
                breaking the State’s promise to this Court. Compare
                Republican Party of Pa. v. Boockvar, No. 20-542, 2020
                U.S. LEXIS 5188, at *5-6 (Oct. 28, 2020) (“we have
                been informed by the Pennsylvania Attorney General
                that the Secretary of the Commonwealth issued
                guidance today directing county boards of elections to
                segregate [late-arriving]       ballots”) (Alito, J.,
                concurring) with Republican Party v. Boockvar, No.
                20A84, 2020 U.S. LEXIS 5345, at *1 (Nov. 6, 2020)
                (“this Court was not informed that the guidance
                issued on October 28, which had an important bearing
                on the question whether to order special treatment of
                the ballots in question, had been modified”) (Alito, J.,
                Circuit Justice).
                       9.     Expert analysis using a commonly
                accepted statistical test further raises serious
                questions as to the integrity of this election.
                       10.    The probability of former Vice President
                Biden winning the popular vote in the four Defendant
                States—Georgia, Michigan, Pennsylvania, and
                Wisconsin—independently given President Trump’s
                early lead in those States as of 3 a.m. on November 4,
                2020, is less than one in a quadrillion, or 1 in
                1,000,000,000,000,000. For former Vice President
                Biden to win these four States collectively, the odds of
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                that event happening decrease to less than one in a
                quadrillion to the fourth power (i.e., 1 in
                1,000,000,000,000,0004). See Decl. of Charles J.
                Cicchetti, Ph.D. (“Cicchetti Decl.”) at ¶¶ 14-21, 30-31.
                See App. 4a-7a, 9a.
                       11.    The same less than one in a quadrillion
                statistical improbability of Mr. Biden winning the
                popular vote in the four Defendant States—Georgia,
                Michigan,      Pennsylvania,        and      Wisconsin—
                independently exists when Mr. Biden’s performance
                in each of those Defendant States is compared to
                former Secretary of State Hilary Clinton’s
                performance in the 2016 general election and
                President Trump’s performance in the 2016 and 2020
                general elections. Again, the statistical improbability
                of Mr. Biden winning the popular vote in these four
                States collectively is 1 in 1,000,000,000,000,0005. Id.
                10-13, 17-21, 30-31.
                       12.    Put simply, there is substantial reason to
                doubt the voting results in the Defendant States.
                       13.    By purporting to waive or otherwise
                modify the existing state law in a manner that was
                wholly ultra vires and not adopted by each state’s
                legislature, Defendant States violated not only the
                Electors Clause, U.S. CONST. art. II, § 1, cl. 2, but also
                the Elections Clause, id. art. I, § 4 (to the extent that
                the Article I Elections Clause textually applies to the
                Article II process of selecting presidential electors).
                       14.    Plaintiff States and their voters are
                entitled to a presidential election in which the votes
                from each of the states are counted only if the ballots
                are cast and counted in a manner that complies with
                the pre-existing laws of each state. See Anderson v.
                Celebrezze, 460 U.S. 780, 795 (1983) (“for the
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                President and the Vice President of the United States
                are the only elected officials who represent all the
                voters in the Nation.”). Voters who cast lawful ballots
                cannot have their votes diminished by states that
                administered their 2020 presidential elections in a
                manner where it is impossible to distinguish a lawful
                ballot from an unlawful ballot.
                       15.     The number of absentee and mail-in
                ballots that have been handled unconstitutionally in
                Defendant States greatly exceeds the difference
                between the vote totals of the two candidates for
                President of the United States in each Defendant
                State.
                       16.     In addition to injunctive relief for this
                election, Plaintiff State seeks declaratory relief for all
                presidential elections in the future. This problem is
                clearly capable of repetition yet evading review. The
                integrity of our constitutional democracy requires
                that states conduct presidential elections in
                accordance with the rule of law and federal
                constitutional guarantees.
                           JURISDICTION AND VENUE
                       17.     This Court has original and exclusive
                jurisdiction over this action because it is a
                “controvers[y] between two or more States” under
                Article III, § 2, cl. 2 of the U.S. Constitution and 28
                U.S.C. § 1251(a) (2018).
                       18.     In a presidential election, “the impact of
                the votes cast in each State is affected by the votes
                cast for the various candidates in other States.”
                Anderson, 460 U.S. at 795. The constitutional failures
                of Defendant States injure Plaintiff States because
                “‘the right of suffrage can be denied by a debasement
                or dilution of the weight of a citizen’s vote just as
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                effectively as by wholly prohibiting the free exercise of
                the franchise.’” Bush v. Gore, 531 U.S. 98, 105 (2000)
                (quoting Reynolds v. Sims, 377 U. S. 533, 555 (1964))
                (Bush II). In other words, Plaintiff State is acting to
                protect the interests of its respective citizens in the
                fair and constitutional conduct of elections used to
                appoint presidential electors.
                       19.    This Court’s Article III decisions indicate
                that only a state can bring certain claims. Lance v.
                Coffman, 549 U.S. 437, 442 (2007) (distinguishing
                citizen plaintiffs from citizen relators who sued in the
                name of a state); cf. Massachusetts v. EPA, 549 U.S.
                497, 520 (2007) (courts owe states “special solicitude
                in standing analysis”). Moreover, redressability likely
                would undermine a suit against a single state officer
                or State because no one State’s electoral votes will
                make a difference in the election outcome. This action
                against multiple State defendants is the only
                adequate remedy for Plaintiff States, and this Court
                is the only court that can accommodate such a suit.
                       20.    Individual state courts do not—and
                under the circumstance of contested elections in
                multiple states, cannot—offer an adequate remedy to
                resolve election disputes within the timeframe set by
                the Constitution to resolve such disputes and to
                appoint a President via the electoral college. No
                court—other       than    this    Court—can       redress
                constitutional injuries spanning multiple States with
                the sufficient number of states joined as defendants or
                respondents to make a difference in the Electoral
                College.
                       21.    This Court is the sole forum in which to
                exercise the jurisdictional basis for this action.
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                                       PARTIES
                       22.    Plaintiff is the State of Texas, which is a
                sovereign State of the United States.
                       23.    Defendants are the Commonwealth of
                Pennsylvania and the States of Georgia, Michigan,
                and Wisconsin, which are sovereign States of the
                United States.
                               LEGAL BACKGROUND
                       24.    Under the Supremacy Clause, the “Con-
                stitution, and the laws of the United States which
                shall be made in pursuance thereof … shall be the
                supreme law of the land.” U.S. CONST. Art. VI, cl. 2.
                       25.    “The individual citizen has no federal
                constitutional right to vote for electors for the
                President of the United States unless and until the
                state legislature chooses a statewide election as the
                means to implement its power to appoint members of
                the electoral college.” Bush II, 531 U.S. at 104 (citing
                U.S. CONST. art. II, § 1).
                       26.    State legislatures have plenary power to
                set the process for appointing presidential electors:
                “Each State shall appoint, in such Manner as the
                Legislature thereof may direct, a Number of Electors.”
                U.S. CONST. art. II, §1, cl. 2; see also Bush II, 531 U.S.
                at 104 (“[T]he state legislature’s power to select the
                manner for appointing electors is plenary.” (emphasis
                added)).
                       27.    At the time of the Founding, most States
                did not appoint electors through popular statewide
                elections. In the first presidential election, six of the
                ten States that appointed electors did so by direct
                legislative appointment. McPherson v. Blacker, 146
                U.S. 1, 29-30 (1892).
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                       28.     In the second presidential election, nine
                of the fifteen States that appointed electors did so by
                direct legislative appointment. Id. at 30.
                       29.     In the third presidential election, nine of
                sixteen States that appointed electors did so by direct
                legislative appointment. Id. at 31. This practice
                persisted in lesser degrees through the Election of
                1860. Id. at 32.
                       30.     Though “[h]istory has now favored the
                voter,” Bush II, 531 U.S. at 104, “there is no doubt of
                the right of the legislature to resume the power [of
                appointing presidential electors] at any time, for it can
                neither be taken away nor abdicated.” McPherson, 146
                U.S. at 35 (emphasis added); cf. 3 U.S.C. § 2
                (“Whenever any State has held an election for the
                purpose of choosing electors, and has failed to make a
                choice on the day prescribed by law, the electors may
                be appointed on a subsequent day in such a manner
                as the legislature of such State may direct.”).
                       31.     Given      the     State      legislatures’
                constitutional primacy in selecting presidential
                electors, the ability to set rules governing the casting
                of ballots and counting of votes cannot be usurped by
                other branches of state government.
                       32.     The Framers of the Constitution decided
                to select the President through the Electoral College
                “to afford as little opportunity as possible to tumult
                and disorder” and to place “every practicable obstacle
                [to] cabal, intrigue, and corruption,” including “foreign
                powers” that might try to insinuate themselves into
                our elections. THE FEDERALIST NO. 68, at 410-11 (C.
                Rossiter, ed. 1961) (Madison, J.).
                       33.     Defendant States’ applicable laws are set
                out under the facts for each Defendant State.
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                                          12
                                       FACTS
                       34.    The use of absentee and mail-in ballots
                skyrocketed in 2020, not only as a public-health
                response to the COVID-19 pandemic but also at the
                urging of mail-in voting’s proponents, and most
                especially executive branch officials in Defendant
                States. According to the Pew Research Center, in the
                2020 general election, a record number of votes—
                about 65 million—were cast via mail compared to 33.5
                million mail-in ballots cast in the 2016 general
                election—an increase of more than 94 percent.
                       35.    In the wake of the contested 2000
                election, the bipartisan Jimmy Carter-James Baker
                commission identified absentee ballots as “the largest
                source of potential voter fraud.” BUILDING
                CONFIDENCE IN U.S. ELECTIONS: REPORT OF THE
                COMMISSION ON FEDERAL ELECTION REFORM, at 46
                (Sept. 2005).
                       36.    Concern over the use of mail-in ballots is
                not novel to the modern era, Dustin Waters, Mail-in
                Ballots Were Part of a Plot to Deny Lincoln Reelection
                in 1864, WASH. POST (Aug. 22, 2020),3 but it remains a
                current concern. Crawford v. Marion Cty. Election
                Bd., 553 U.S. 181, 194-96 & n.11 (2008); see also Texas
                Office of the Attorney General, AG Paxton Announces
                Joint Prosecution of Gregg County Organized Election
                Fraud in Mail-In Balloting Scheme (Sept. 24, 2020);
                Harriet Alexander & Ariel Zilber, Minneapolis police
                opens investigation into reports that Ilhan Omar's
                supporters illegally harvested Democrat ballots in
                Minnesota, DAILY MAIL, Sept. 28, 2020.


                3    https://www.washingtonpost.com/history/2020/08/22/mail-
                in-voting-civil-war-election-conspiracy-lincoln/
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                       37.    Absentee and mail-in voting are the
                primary opportunities for unlawful ballots to be cast.
                As a result of expanded absentee and mail-in voting
                in Defendant States, combined with Defendant States’
                unconstitutional modification of statutory protections
                designed to ensure ballot integrity, Defendant States
                created a massive opportunity for fraud. In addition,
                the Defendant States have made it difficult or
                impossible to separate the constitutionally tainted
                mail-in ballots from all mail-in ballots.
                       38.    Rather than augment safeguards
                against illegal voting in anticipation of the millions of
                additional mail-in ballots flooding their States,
                Defendant States all materially weakened, or did
                away with, security measures, such as witness or
                signature verification procedures, required by their
                respective legislatures. Their legislatures established
                those commonsense safeguards to prevent—or at least
                reduce—fraudulent mail-in ballots.
                       39.    Significantly, in Defendant States,
                Democrat voters voted by mail at two to three times
                the rate of Republicans. Former Vice President Biden
                thus greatly benefited from this unconstitutional
                usurpation of legislative authority, and the
                weakening of legislative mandated ballot security
                measures.
                       40.    The outcome of the Electoral College vote
                is directly affected by the constitutional violations
                committed by Defendant States. Plaintiff State
                complied with the Constitution in the process of
                appointing presidential electors for President Trump.
                Defendant States violated the Constitution in the
                process of appointing presidential electors by
                unlawfully abrogating state election laws designed to
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                protect the integrity of the ballots and the electoral
                process, and those violations proximately caused the
                appointment of presidential electors for former Vice
                President Biden. Plaintiff State will therefore be
                injured if Defendant States’ unlawfully certify these
                presidential electors.
                Commonwealth of Pennsylvania
                        41.   Pennsylvania has 20 electoral votes,
                with a statewide vote tally currently estimated at
                3,363,951 for President Trump and 3,445,548 for
                former Vice President Biden, a margin of 81,597 votes.
                        42.   The number of votes affected by the
                various constitutional violations exceeds the margin
                of votes separating the candidates.
                        43.   Pennsylvania’s Secretary of State, Kathy
                Boockvar, without legislative approval, unilaterally
                abrogated several Pennsylvania statutes requiring
                signature verification for absentee or mail-in ballots.
                Pennsylvania’s legislature has not ratified these
                changes, and the legislation did not include a
                severability clause.
                        44.   On August 7, 2020, the League of Women
                Voters of Pennsylvania and others filed a complaint
                against Secretary Boockvar and other local election
                officials, seeking “a declaratory judgment that
                Pennsylvania      existing    signature    verification
                procedures for mail-in voting” were unlawful for a
                number of reasons. League of Women Voters of
                Pennsylvania v. Boockvar, No. 2:20-cv-03850-PBT,
                (E.D. Pa. Aug. 7, 2020).
                        45.   The Pennsylvania Department of State
                quickly settled with the plaintiffs, issuing revised
                guidance on September 11, 2020, stating in relevant
                part: “The Pennsylvania Election Code does not
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                authorize the county board of elections to set aside
                returned absentee or mail-in ballots based solely on
                signature analysis by the county board of elections.”
                       46.    This    guidance      is     contrary    to
                Pennsylvania law. First, Pennsylvania Election Code
                mandates that, for non-disabled and non-military
                voters, all applications for an absentee or mail-in
                ballot “shall be signed by the applicant.” 25 PA. STAT.
                §§ 3146.2(d) & 3150.12(c). Second, Pennsylvania’s
                voter signature verification requirements are
                expressly set forth at 25 PA. STAT. 350(a.3)(1)-(2) and
                § 3146.8(g)(3)-(7).
                       47.    The Pennsylvania Department of State’s
                guidance     unconstitutionally     did     away    with
                Pennsylvania’s statutory signature verification
                requirements. Approximately 70 percent of the
                requests for absentee ballots were from Democrats
                and 25 percent from Republicans. Thus, this
                unconstitutional abrogation of state election law
                greatly inured to former Vice President Biden’s
                benefit.
                       48.    In addition, in 2019, Pennsylvania’s
                legislature enacted bipartisan election reforms, 2019
                Pa. Legis. Serv. Act 2019-77, that set inter alia a
                deadline of 8:00 p.m. on election day for a county
                board of elections to receive a mail-in ballot. 25 PA.
                STAT. §§ 3146.6(c), 3150.16(c). Acting under a
                generally worded clause that “Elections shall be free
                and equal,” PA. CONST. art. I, § 5, cl. 1, a 4-3 majority
                of Pennsylvania’s Supreme Court in Pa. Democratic
                Party v. Boockvar, 238 A.3d 345 (Pa. 2020), extended
                that deadline to three days after Election Day and
                adopted a presumption that even non-postmarked
                ballots were presumptively timely.
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                                             16
                        49.    Pennsylvania’s election law also requires
                that poll-watchers be granted access to the opening,
                counting, and recording of absentee ballots: “Watchers
                shall be permitted to be present when the envelopes
                containing official absentee ballots and mail-in ballots
                are opened and when such ballots are counted and
                recorded.” 25 PA. STAT. § 3146.8(b). Local election
                officials in Philadelphia and Allegheny Counties
                decided not to follow 25 PA. STAT. § 3146.8(b) for the
                opening, counting, and recording of absentee and
                mail-in ballots.
                        50.     Prior to the election, Secretary Boockvar
                sent an email to local election officials urging them to
                provide opportunities for various persons—including
                political parties—to contact voters to “cure” defective
                mail-in ballots. This process clearly violated several
                provisions of the state election code.
                • Section 3146.8(a) requires: “The county boards of
                     election, upon receipt of official absentee ballots in
                     sealed official absentee ballot envelopes as
                     provided under this article and mail-in ballots as
                     in sealed official mail-in ballot envelopes as
                     provided under Article XIII-D,1 shall safely keep
                     the ballots in sealed or locked containers until
                     they are to be canvassed by the county board of
                     elections.”
                • Section 3146.8(g)(1)(ii) provides that mail-in
                     ballots shall be canvassed (if they are received by
                     eight o’clock p.m. on election day) in the manner
                     prescribed by this subsection.
                • Section 3146.8(g)(1.1) provides that the first look
                     at the ballots shall be “no earlier than seven
                     o’clock a.m. on election day.” And the hour for this
                     “pre-canvas” must be publicly announced at least
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                    48 hours in advance. Then the votes are counted
                    on election day.
                       51.    By removing the ballots for examination
                prior to seven o’clock a.m. on election day, Secretary
                Boockvar created a system whereby local officials
                could    review     ballots    without     the  proper
                announcements, observation, and security. This
                entire scheme, which was only followed in Democrat
                majority counties, was blatantly illegal in that it
                permitted the illegal removal of ballots from their
                locked containers prematurely.
                       52.    Statewide election officials and local
                election officials in Philadelphia and Allegheny
                Counties, aware of the historical Democrat advantage
                in those counties, violated Pennsylvania’s election
                code and adopted the differential standards favoring
                voters in Philadelphia and Allegheny Counties with
                the intent to favor former Vice President Biden. See
                Verified Complaint (Doc. No. 1), Donald J. Trump for
                President, Inc. v. Boockvar, 4:20-cv-02078-MWB (M.D.
                Pa. Nov. 18, 2020) at ¶¶ 3-6, 9, 11, 100-143.
                       53.    Absentee and mail-in ballots in
                Pennsylvania were thus evaluated under an illegal
                standard regarding signature verification. It is now
                impossible to determine which ballots were properly
                cast and which ballots were not.
                       54.     The changed process allowing the curing
                of absentee and mail-in ballots in Allegheny and
                Philadelphia counties is a separate basis resulting in
                an unknown number of ballots being treated in an
                unconstitutional      manner       inconsistent   with
                Pennsylvania statute. Id.
                       55.    In addition, a great number of ballots
                were received after the statutory deadline and yet
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                were counted by virtue of the fact that Pennsylvania
                did not segregate all ballots received after 8:00 pm on
                November 3, 2020. Boockvar’s claim that only about
                10,000 ballots were received after this deadline has no
                way of being proven since Pennsylvania broke its
                promise to the Court to segregate ballots and co-
                mingled perhaps tens, or even hundreds of thousands,
                of illegal late ballots.
                        56.    On December 4, 2020, fifteen members of
                the Pennsylvania House of Representatives led by
                Rep. Francis X. Ryan issued a report to Congressman
                Scott Perry (the “Ryan Report,” App. 139a-144a)
                stating that “[t]he general election of 2020 in
                Pennsylvania was fraught with inconsistencies,
                documented        irregularities  and     improprieties
                associated with mail-in balloting, pre-canvassing, and
                canvassing that the reliability of the mail-in votes in
                the Commonwealth of Pennsylvania is impossible to
                rely upon.”
                        57.    The Ryan Report’s findings are startling,
                including:

                    •   Ballots with NO MAILED date. That total is
                        9,005.
                    • Ballots Returned on or BEFORE the Mailed
                        Date. That total is 58,221.
                    •    Ballots Returned one day after Mailed Date.
                        That total is 51,200.
                Id. 143a.
                       58.    These nonsensical numbers alone total
                118,426 ballots and exceed Mr. Biden’s margin of
                81,660 votes over President Trump. But these
                discrepancies pale in comparison to the discrepancies
                in Pennsylvania’s reported data concerning the
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                number of mail-in ballots distributed to the
                populace—now with no longer subject to legislated
                mandated signature verification requirements.
                       59.     The Ryan Report also states as follows:
                    [I]n a data file received on November 4, 2020, the
                    Commonwealth’s PA Open Data sites reported over
                    3.1 million mail in ballots sent out. The CSV file
                    from the state on November 4 depicts 3.1 million
                    mail in ballots sent out but on November 2, the
                    information was provided that only 2.7 million
                    ballots had been sent out. This discrepancy of
                    approximately 400,000 ballots from November 2 to
                    November 4 has not been explained.
                Id. at 143a-44a. (Emphasis added).
                       60.     These stunning figures illustrate the
                out-of-control nature of Pennsylvania’s mail-in
                balloting scheme. Democrats submitted mail-in
                ballots at more than two times the rate of
                Republicans. This number of constitutionally tainted
                ballots far exceeds the approximately 81,660 votes
                separating the candidates.
                       61.     This blatant disregard of statutory law
                renders all mail-in ballots constitutionally tainted
                and cannot form the basis for appointing or certifying
                Pennsylvania’s presidential electors to the Electoral
                College.
                       62.     According to the U.S. Election
                Assistance Commission’s report to Congress Election
                Administration         and     Voting     Survey:    2016
                Comprehensive Report, in 2016 Pennsylvania received
                266,208 mail-in ballots; 2,534 of them were rejected
                (.95%). Id. at p. 24. However, in 2020, Pennsylvania
                received more than 10 times the number of mail-in
                ballots compared to 2016. As explained supra, this
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                much larger volume of mail-in ballots was treated in
                an unconstitutionally modified manner that included:
                (1) doing away with the Pennsylvania’s signature
                verification requirements; (2) extending that deadline
                to three days after Election Day and adopting a
                presumption that even non-postmarked ballots were
                presumptively timely; and (3) blocking poll watchers
                in Philadelphia and Allegheny Counties in violation of
                State law.
                       63.    These non-legislative modifications to
                Pennsylvania’s election rules appear to have
                generated an outcome-determinative number of
                unlawful ballots that were cast in Pennsylvania.
                Regardless of the number of such ballots, the non-
                legislative changes to the election rules violated the
                Electors Clause.
                State of Georgia
                       64.    Georgia has 16 electoral votes, with a
                statewide vote tally currently estimated at 2,458,121
                for President Trump and 2,472,098 for former Vice
                President Biden, a margin of approximately 12,670
                votes.
                       65.    The number of votes affected by the
                various constitutional violations exceeds the margin
                of votes dividing the candidates.
                       66.    Georgia’s Secretary of State, Brad
                Raffensperger,      without    legislative    approval,
                unilaterally abrogated Georgia’s statute governing
                the signature verification process for absentee ballots.
                       67.    O.C.G.A. § 21-2-386(a)(2) prohibits the
                opening of absentee ballots until after the polls open
                on Election Day: In April 2020, however, the State
                Election Board adopted Secretary of State Rule 183-1-
                14-0.9-.15, Processing Ballots Prior to Election Day.
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                That rule purports to authorize county election
                officials to begin processing absentee ballots up to
                three weeks before Election Day.
                        68.     Georgia law authorizes and requires a
                single registrar or clerk—after reviewing the outer
                envelope—to reject an absentee ballot if the voter
                failed to sign the required oath or to provide the
                required information, the signature appears invalid,
                or the required information does not conform with the
                information on file, or if the voter is otherwise found
                ineligible to vote. O.C.G.A. § 21-2-386(a)(1)(B)-(C).
                        69.     Georgia law provides absentee voters the
                chance to “cure a failure to sign the oath, an invalid
                signature, or missing information” on a ballot’s outer
                envelope by the deadline for verifying provisional
                ballots (i.e., three days after the election). O.C.G.A. §§
                21-2-386(a)(1)(C), 21-2-419(c)(2). To facilitate cures,
                Georgia law requires the relevant election official to
                notify the voter in writing: “The board of registrars or
                absentee ballot clerk shall promptly notify the elector
                of such rejection, a copy of which notification shall be
                retained in the files of the board of registrars or
                absentee ballot clerk for at least two years.” O.C.G.A.
                § 21-2-386(a)(1)(B).
                        70.     On March 6, 2020, in Democratic Party
                of Georgia v. Raffensperger, No. 1:19-cv-5028-WMR
                (N.D. Ga.), Georgia’s Secretary of State entered a
                Compromise Settlement Agreement and Release with
                the Democratic Party of Georgia (the “Settlement”) to
                materially change the statutory requirements for
                reviewing signatures on absentee ballot envelopes to
                confirm the voter’s identity by making it far more
                difficult to challenge defective signatures beyond the
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                express mandatory procedures set forth at GA. CODE §
                21-2-386(a)(1)(B).
                        71.   Among other things, before a ballot could
                be rejected, the Settlement required a registrar who
                found a defective signature to now seek a review by
                two other registrars, and only if a majority of the
                registrars agreed that the signature was defective
                could the ballot be rejected but not before all three
                registrars’ names were written on the ballot envelope
                along with the reason for the rejection. These
                cumbersome procedures are in direct conflict with
                Georgia’s statutory requirements, as is the
                Settlement’s requirement that notice be provided by
                telephone (i.e., not in writing) if a telephone number
                is available. Finally, the Settlement purports to
                require State election officials to consider issuing
                guidance and training materials drafted by an expert
                retained by the Democratic Party of Georgia.
                        72.   Georgia’s legislature has not ratified
                these material changes to statutory law mandated by
                the Compromise Settlement Agreement and Release,
                including altered signature verification requirements
                and early opening of ballots. The relevant legislation
                that was violated by Compromise Settlement
                Agreement and Release did not include a severability
                clause.
                        73.   This unconstitutional change in Georgia
                law materially benefitted former Vice President
                Biden. According to the Georgia Secretary of State’s
                office, former Vice President Biden had almost double
                the number of absentee votes (65.32%) as President
                Trump (34.68%). See Cicchetti Decl. at ¶ 25, App. 7a-
                8a.
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                                            23
                       74.    The effect of this unconstitutional
                change in Georgia election law, which made it more
                likely that ballots without matching signatures would
                be counted, had a material impact on the outcome of
                the election.
                       75.    Specifically, there were 1,305,659
                absentee mail-in ballots submitted in Georgia in 2020.
                There were 4,786 absentee ballots rejected in 2020.
                This is a rejection rate of .37%. In contrast, in 2016,
                the 2016 rejection rate was 6.42% with 13,677
                absentee mail-in ballots being rejected out of 213,033
                submitted, which more than seventeen times greater
                than in 2020. See Cicchetti Decl. at ¶ 24, App. 7a.
                       76.    If the rejection rate of mailed-in absentee
                ballots remained the same in 2020 as it was in 2016,
                there would be 83,517 less tabulated ballots in 2020.
                The statewide split of absentee ballots was 34.68% for
                Trump and 65.2% for Biden. Rejecting at the higher
                2016 rate with the 2020 split between Trump and
                Biden would decrease Trump votes by 28,965 and
                Biden votes by 54,552, which would be a net gain for
                Trump of 25,587 votes. This would be more than
                needed to overcome the Biden advantage of 12,670
                votes, and Trump would win by 12,917 votes. Id.
                Regardless of the number of ballots affected, however,
                the non-legislative changes to the election rules
                violated the Electors Clause.
                State of Michigan
                       77.    Michigan has 16 electoral votes, with a
                statewide vote tally currently estimated at 2,650,695
                for President Trump and 2,796,702 for former Vice
                President Biden, a margin of 146,007 votes. In Wayne
                County, Mr. Biden’s margin (322,925 votes)
                significantly exceeds his statewide lead.
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                                              24
                       78.    The number of votes affected by the
                various constitutional violations exceeds the margin
                of votes dividing the candidates.
                       79.    Michigan’s Secretary of State, Jocelyn
                Benson, without legislative approval, unilaterally
                abrogated Michigan election statutes related to
                absentee     ballot     applications       and    signature
                verification. Michigan’s legislature has not ratified
                these changes, and its election laws do not include a
                severability clause.
                       80.    As amended in 2018, the Michigan
                Constitution provides all registered voters the right to
                request and vote by an absentee ballot without giving
                a reason. MICH. CONST. art. 2, § 4.
                       81.    On May 19, 2020, however, Secretary
                Benson announced that her office would send
                unsolicited absentee-voter ballot applications by mail
                to all 7.7 million registered Michigan voters prior to
                the primary and general elections. Although her office
                repeatedly encouraged voters to vote absentee
                because of the COVID-19 pandemic, it did not ensure
                that Michigan’s election systems and procedures were
                adequate to ensure the accuracy and legality of the
                historic flood of mail-in votes. In fact, it did the
                opposite and did away with protections designed to
                deter voter fraud.
                       82.    Secretary Benson’s flooding of Michigan
                with millions of absentee ballot applications prior to
                the 2020 general election violated M.C.L. § 168.759(3).
                That statute limits the procedures for requesting an
                absentee ballot to three specified ways:
                    An application for an absent voter ballot under this
                    section may be made in any of the following ways:
                    (a) By a written request signed by the voter.
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                                             25
                    (b) On an absent voter ballot application form
                    provided for that purpose by the clerk of the city or
                    township.
                    (c) On a federal postcard application.
                M.C.L. § 168.759(3) (emphasis added).
                       83.     The Michigan Legislature thus declined
                to include the Secretary of State as a means for
                distributing absentee ballot applications. Id. §
                168.759(3)(b). Under the statute’s plain language, the
                Legislature explicitly gave only local clerks the power
                to distribute absentee voter ballot applications. Id.
                       84.     Because the Legislature declined to
                explicitly include the Secretary of State as a vehicle
                for distributing absentee ballots applications,
                Secretary Benson lacked authority to distribute even
                a single absentee voter ballot application—much less
                the millions of absentee ballot applications Secretary
                Benson chose to flood across Michigan.
                       85.     Secretary Benson also violated Michigan
                law when she launched a program in June 2020
                allowing absentee ballots to be requested online,
                without signature verification as expressly required
                under Michigan law. The Michigan Legislature did
                not approve or authorize Secretary Benson’s
                unilateral actions.
                       86.     MCL § 168.759(4) states in relevant part:
                “An applicant for an absent voter ballot shall sign the
                application. Subject to section 761(2), a clerk or
                assistant clerk shall not deliver an absent voter ballot
                to an applicant who does not sign the application.”
                       87.     Further, MCL § 168.761(2) states in
                relevant part: “The qualified voter file must be used to
                determine the genuineness of a signature on an
                application for an absent voter ballot”, and if “the
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                                           26
                signatures do not agree sufficiently or [if] the
                signature is missing” the ballot must be rejected.
                       88.    In 2016 only 587,618 Michigan voters
                requested absentee ballots. In stark contrast, in 2020,
                3.2 million votes were cast by absentee ballot, about
                57% of total votes cast – and more than five times the
                number of ballots even requested in 2016.
                       89.    Secretary Benson’s unconstitutional
                modifications of Michigan’s election rules resulted in
                the distribution of millions of absentee ballot
                applications without verifying voter signatures as
                required by MCL §§ 168.759(4) and 168.761(2). This
                means that millions of absentee ballots were
                disseminated in violation of Michigan’s statutory
                signature-verification requirements. Democrats in
                Michigan voted by mail at a ratio of approximately
                two to one compared to Republican voters. Thus,
                former Vice President Biden materially benefited
                from these unconstitutional changes to Michigan’s
                election law.
                       90.    Michigan also requires that poll
                watchers and inspectors have access to vote counting
                and canvassing. M.C.L. §§ 168.674-.675.
                       91.    Local election officials in Wayne County
                made a conscious and express policy decision not to
                follow M.C.L. §§ 168.674-.675 for the opening,
                counting, and recording of absentee ballots.
                       92.    Michigan also has strict signature
                verification requirements for absentee ballots,
                including that the Elections Department place a
                written statement or stamp on each ballot envelope
                where the voter signature is placed, indicating that
                the voter signature was in fact checked and verified
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                                               27
                with the signature on file with the State. See MCL §
                168.765a(6).
                        93.     However, Wayne County made the policy
                decision to ignore Michigan’s statutory signature-
                verification requirements for absentee ballots. Former
                Vice President Biden received approximately 587,074,
                or 68%, of the votes cast there compared to President
                Trump’s receiving approximate 264,149, or 30.59%, of
                the total vote. Thus, Mr. Biden materially benefited
                from these unconstitutional changes to Michigan’s
                election law.
                        94.     Numerous poll challengers and an
                Election Department employee whistleblower have
                testified that the signature verification requirement
                was ignored in Wayne County in a case currently
                pending in the Michigan Supreme Court.4 For
                example, Jesse Jacob, a decades-long City of Detroit
                employee assigned to work in the Elections Department for
                the 2020 election testified that:
                     Absentee ballots that were received in the mail would
                     have the voter’s signature on the envelope. While I
                     was at the TCF Center, I was instructed not to look at
                     any of the signatures on the absentee ballots, and I
                     was instructed not to compare the signature on the
                     absentee ballot with the signature on file.5




                4       Johnson v. Benson, Petition for Extraordinary Writs &
                Declaratory Relief filed Nov. 26, 2020 (Mich. Sup. Ct.) at ¶¶ 71,
                138-39, App. 25a-51a.

                5Id., Affidavit of Jessy Jacob, Appendix 14 at ¶15, attached at
                App. 34a-36a.
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                                           28
                        95.   The TCF was the only facility within
                Wayne County authorized to count ballots for the City
                of Detroit.
                        96.   These non-legislative modifications to
                Michigan’s election statutes resulted in a number of
                constitutionally tainted votes that far exceeds the
                margin of voters separating the candidates in
                Michigan.
                        97.   Additional public information confirms
                the material adverse impact on the integrity of the
                vote in Wayne County caused by these
                unconstitutional changes to Michigan’s election law.
                For example, the Wayne County Statement of Votes
                Report lists 174,384 absentee ballots out of 566,694
                absentee ballots tabulated (about 30.8%) as counted
                without a registration number for precincts in the
                City of Detroit. See Cicchetti Decl. at ¶ 27, App. 8a.
                The number of votes not tied to a registered voter by
                itself exceeds Vice President Biden’s margin of margin
                of 146,007 votes by more than 28,377 votes.
                        98.   The extra ballots cast most likely
                resulted from the phenomenon of Wayne County
                election workers running the same ballots through a
                tabulator multiple times, with Republican poll
                watchers obstructed or denied access, and election
                officials ignoring poll watchers’ challenges, as
                documented by numerous declarations. App. 25a-51a.
                        99.   In addition, a member of the Wayne
                County Board of Canvassers (“Canvassers Board”),
                William Hartman, determined that 71% of Detroit’s
                Absent Voter Counting Boards (“AVCBs”) were
                unbalanced—i.e., the number of people who checked
                in did not match the number of ballots cast—without
                explanation. Id. at ¶ 29.
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                                           29
                       100. On November 17, 2020, the Canvassers
                Board deadlocked 2-2 over whether to certify the
                results of the presidential election based on numerous
                reports of fraud and unanswered material
                discrepancies in the county-wide election results. A
                few hours later, the Republican Board members
                reversed their decision and voted to certify the results
                after severe harassment, including threats of violence.
                       101. The following day, the two Republican
                members of the Board rescinded their votes to certify
                the vote and signed affidavits alleging they were
                bullied and misled into approving election results and
                do not believe the votes should be certified until
                serious irregularities in Detroit votes are resolved. See
                Cicchetti Decl. at ¶ 29, App. 8a.
                       102. Regardless of the number of votes that
                were affected by the unconstitutional modification of
                Michigan’s election rules, the non-legislative changes
                to the election rules violated the Electors Clause.
                State of Wisconsin
                       103. Wisconsin has 10 electoral votes, with a
                statewide vote tally currently estimated at 1,610,151
                for President Trump and 1,630,716 for former Vice
                President Biden (i.e., a margin of 20,565 votes). In two
                counties, Milwaukee and Dane, Mr. Biden’s margin
                (364,298 votes) significantly exceeds his statewide
                lead.
                       104. In the 2016 general election some
                146,932 mail-in ballots were returned in Wisconsin
                out of more than 3 million votes cast.6 In stark
                contrast, 1,275,019 mail-in ballots, nearly a 900

                6    Source:   U.S.     Elections    Project,   available   at:
                http://www.electproject.org/early_2016.
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                                           30
                percent increase over 2016, were returned in the
                November 3, 2020 election.7
                        105. Wisconsin statutes guard against fraud
                in absentee ballots: “[V]oting by absentee ballot is a
                privilege exercised wholly outside the traditional
                safeguards of the polling place. The legislature finds
                that the privilege of voting by absentee ballot must be
                carefully regulated to prevent the potential for fraud
                or abuse[.]” WISC. STAT. § 6.84(1).
                        106. In direct contravention of Wisconsin law,
                leading up to the 2020 general election, the Wisconsin
                Elections Commission (“WEC”) and other local
                officials unconstitutionally modified Wisconsin
                election laws—each time taking steps that weakened,
                or did away with, established security procedures put
                in place by the Wisconsin legislature to ensure
                absentee ballot integrity.
                        107. For example, the WEC undertook a
                campaign to position hundreds of drop boxes to collect
                absentee ballots—including the use of unmanned drop
                boxes.8
                        108. The mayors of Wisconsin’s five largest
                cities—Green Bay, Kenosha, Madison, Milwaukee,
                and Racine, which all have Democrat majorities—
                joined in this effort, and together, developed a plan
                use purportedly “secure drop-boxes to facilitate return



                7   Source:      U.S.     Elections     Project,    available at:
                https://electproject.github.io/Early-Vote-2020G/WI.html.
                8  Wisconsin Elections Commission Memoranda, To: All
                Wisconsin Election Officials, Aug. 19, 2020, available at:
                https://elections.wi.gov/sites/elections.wi.gov/files/2020-
                08/Drop%20Box%20Final.pdf. at p. 3 of 4.
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                of absentee ballots.” Wisconsin Safe Voting Plan 2020,
                at 4 (June 15, 2020).9
                       109. It is alleged in an action recently filed in
                the United States District Court for the Eastern
                District of Wisconsin that over five hundred
                unmanned, illegal, absentee ballot drop boxes were
                used in the Presidential election in Wisconsin.10
                       110. However, the use of any drop box,
                manned or unmanned, is directly prohibited by
                Wisconsin statute. The Wisconsin legislature
                specifically described in the Election Code “Alternate
                absentee ballot site[s]” and detailed the procedure by
                which the governing body of a municipality may
                designate a site or sites for the delivery of absentee
                ballots “other than the office of the municipal clerk or
                board of election commissioners as the location from
                which electors of the municipality may request and
                vote absentee ballots and to which voted absentee
                ballots shall be returned by electors for any election.”
                Wis. Stat. 6.855(1).
                       111. Any alternate absentee ballot site “shall
                be staffed by the municipal clerk or the executive
                director of the board of election commissioners, or
                employees of the clerk or the board of election
                commissioners.” Wis. Stat. 6.855(3). Likewise, Wis.

                9    Wisconsin Safe Voting Plan 2020 Submitted to the Center
                for Tech & Civic Life, June 15, 2020, by the Mayors of Madison,
                Milwaukee, Racine, Kenosha and Green Bay available at:
                https://www.techandciviclife.org/wp-
                content/uploads/2020/07/Approved-Wisconsin-Safe-Voting-Plan-
                2020.pdf.
                10   See Complaint (Doc. No. 1), Donald J. Trump, Candidate for
                President of the United States of America v. The Wisconsin
                Election Commission, Case 2:20-cv-01785-BHL (E.D. Wisc. Dec.
                2, 2020) (Wisconsin Trump Campaign Complaint”) at ¶¶ 188-89.
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                Stat. 7.15(2m) provides, “[i]n a municipality in which
                the governing body has elected to an establish an
                alternate absentee ballot sit under s. 6.855, the
                municipal clerk shall operate such site as though it
                were his or her office for absentee ballot purposes and
                shall ensure that such site is adequately staffed.”
                       112. Thus, the unmanned absentee ballot
                drop-off sites are prohibited by the Wisconsin
                Legislature as they do not comply with Wisconsin law
                expressly defining “[a]lternate absentee ballot site[s]”.
                Wis. Stat. 6.855(1), (3).
                       113. In addition, the use of drop boxes for the
                collection    of     absentee      ballots,  positioned
                predominantly in Wisconsin’s largest cities, is directly
                contrary to Wisconsin law providing that absentee
                ballots may only be “mailed by the elector, or delivered
                in person to the municipal clerk issuing the ballot or
                ballots.” Wis. Stat. § 6.87(4)(b)1 (emphasis added).
                       114. The fact that other methods of delivering
                absentee ballots, such as through unmanned drop
                boxes, are not permitted is underscored by Wis. Stat.
                § 6.87(6) which mandates that, “[a]ny ballot not
                mailed or delivered as provided in this subsection may
                not be counted.” Likewise, Wis. Stat. § 6.84(2)
                underscores this point, providing that Wis. Stat. §
                6.87(6) “shall be construed as mandatory.” The
                provision continues—“Ballots cast in contravention of
                the procedures specified in those provisions may not
                be counted. Ballots counted in contravention of the
                procedures specified in those provisions may not be
                included in the certified result of any election.” Wis.
                Stat. § 6.84(2) (emphasis added).
                       115. These were not the only Wisconsin
                election laws that the WEC violated in the 2020
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                general election. The WEC and local election officials
                also took it upon themselves to encourage voters to
                unlawfully      declare    themselves     “indefinitely
                confined”—which under Wisconsin law allows the
                voter to avoid security measures like signature
                verification and photo ID requirements.
                       116. Specifically, registering to vote by
                absentee ballot requires photo identification, except
                for those who register as “indefinitely confined” or
                “hospitalized.” WISC. STAT. § 6.86(2)(a), (3)(a).
                Registering for indefinite confinement requires
                certifying confinement “because of age, physical
                illness or infirmity or [because the voter] is disabled
                for an indefinite period.” Id. § 6.86(2)(a). Should
                indefinite confinement cease, the voter must notify
                the county clerk, id., who must remove the voter from
                indefinite-confinement status. Id. § 6.86(2)(b).
                       117. Wisconsin election procedures for voting
                absentee based on indefinite confinement enable the
                voter to avoid the photo ID requirement and signature
                requirement. Id. § 6.86(1)(ag)/(3)(a)(2).
                       118. On March 25, 2020, in clear violation of
                Wisconsin law, Dane County Clerk Scott McDonnell
                and Milwaukee County Clerk George Christensen
                both issued guidance indicating that all voters should
                mark themselves as “indefinitely confined” because of
                the COVID-19 pandemic.
                       119. Believing this to be an attempt to
                circumvent Wisconsin’s strict voter ID laws, the
                Republican Party of Wisconsin petitioned the
                Wisconsin Supreme Court to intervene. On March 31,
                2020, the Wisconsin Supreme Court unanimously
                confirmed that the clerks’ “advice was legally
                incorrect” and potentially dangerous because “voters
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                may be misled to exercise their right to vote in ways
                that are inconsistent with WISC. STAT. § 6.86(2).”
                        120. On May 13, 2020, the Administrator of
                WEC issued a directive to the Wisconsin clerks
                prohibiting removal of voters from the registry for
                indefinite-confinement status if the voter is no longer
                “indefinitely confined.”
                        121. The WEC’s directive violated Wisconsin
                law. Specifically, WISC. STAT. § 6.86(2)(a) specifically
                provides that “any [indefinitely confined] elector [who]
                is no longer indefinitely confined … shall so notify the
                municipal clerk.” WISC. STAT. § 6.86(2)(b) further
                provides that the municipal clerk “shall remove the
                name of any other elector from the list upon request
                of the elector or upon receipt of reliable information
                that an elector no longer qualifies for the service.”
                        122. According to statistics kept by the WEC,
                nearly 216,000 voters said they were indefinitely
                confined in the 2020 election, nearly a fourfold
                increase from nearly 57,000 voters in 2016. In Dane
                and Milwaukee counties, more than 68,000 voters
                said they were indefinitely confined in 2020, a fourfold
                increase from the roughly 17,000 indefinitely confined
                voters in those counties in 2016.
                        123. Under Wisconsin law, voting by absentee
                ballot also requires voters to complete a certification,
                including their address, and have the envelope
                witnessed by an adult who also must sign and indicate
                their address on the envelope. See WISC. STAT. § 6.87.
                The sole remedy to cure an “improperly completed
                certificate or [ballot] with no certificate” is for “the
                clerk [to] return the ballot to the elector[.]” Id. §
                6.87(9). “If a certificate is missing the address of a
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                witness, the ballot may not be counted.” Id. § 6.87(6d)
                (emphasis added).
                        124. However, in a training video issued April
                1, 2020, the Administrator of the City of Milwaukee
                Elections Commission unilaterally declared that a
                “witness address may be written in red and that is
                because we were able to locate the witnesses’ address
                for the voter” to add an address missing from the
                certifications on absentee ballots. The Administrator’s
                instruction violated WISC. STAT. § 6.87(6d). The WEC
                issued similar guidance on October 19, 2020, in
                violation of this statute as well.
                        125. In the Wisconsin Trump Campaign
                Complaint, it is alleged, supported by the sworn
                affidavits of poll watchers, that canvas workers
                carried out this unlawful policy, and acting pursuant
                to this guidance, in Milwaukee used red-ink pens to
                alter the certificates on the absentee envelope and
                then cast and count the absentee ballot. These acts
                violated WISC. STAT. § 6.87(6d) (“If a certificate is
                missing the address of a witness, the ballot may not
                be counted”). See also WISC. STAT. § 6.87(9) (“If a
                municipal clerk receives an absentee ballot with an
                improperly completed certificate or with no certificate,
                the clerk may return the ballot to the elector . . .
                whenever time permits the elector to correct the defect
                and return the ballot within the period authorized.”).
                        126. Wisconsin’s legislature has not ratified
                these changes, and its election laws do not include a
                severability clause.
                        127. In addition, Ethan J. Pease, a box truck
                delivery driver subcontracted to the U.S. Postal
                Service (“USPS”) to deliver truckloads of mail-in
                ballots to the sorting center in Madison, WI, testified
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                that USPS employees were backdating ballots
                received after November 3, 2020. Decl. of Ethan J.
                Pease at ¶¶ 3-13. Further, Pease testified how a
                senior USPS employee told him on November 4, 2020
                that    “[a]n    order     came      down     from     the
                Wisconsin/Illinois Chapter of the Postal Service that
                100,000 ballots were missing” and how the USPS
                dispatched employees to “find[] . . . the ballots.” Id. ¶¶
                8-10. One hundred thousand ballots supposedly
                “found” after election day would far exceed former
                Vice President Biden margin of 20,565 votes over
                President Trump.
                          COUNT I: ELECTORS CLAUSE
                       128. Plaintiff State repeats and re-alleges the
                allegations above, as if fully set forth herein.
                       129. The Electors Clause of Article II, Section
                1, Clause 2, of the Constitution makes clear that only
                the legislatures of the States are permitted to
                determine the rules for appointing presidential
                electors. The pertinent rules here are the state
                election statutes, specifically those relevant to the
                presidential election.
                       130. Non-legislative actors lack authority to
                amend or nullify election statutes. Bush II, 531 U.S.
                at 104 (quoted supra).
                       131. Under Heckler v. Chaney, 470 U.S. 821,
                833 n.4 (1985), conscious and express executive
                policies—even if unwritten—to nullify statutes or to
                abdicate statutory responsibilities are reviewable to
                the same extent as if the policies had been written or
                adopted. Thus, conscious and express actions by State
                or local election officials to nullify or ignore
                requirements of election statutes violate the Electors
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                Clause to the same extent as formal modifications by
                judicial officers or State executive officers.
                        132. The actions set out in Paragraphs 41-128
                constitute non-legislative changes to State election
                law by executive-branch State election officials, or by
                judicial officials, in Defendant States Pennsylvania,
                Georgia, Michigan, and Wisconsin, in violation of the
                Electors Clause.
                        133. Electors appointed to Electoral College
                in violation of the Electors Clause cannot cast
                constitutionally valid votes for the office of President.
                         COUNT II: EQUAL PROTECTION
                        134. Plaintiff State repeats and re-alleges the
                allegations above, as if fully set forth herein.
                        135. The Equal Protection Clause prohibits
                the use of differential standards in the treatment and
                tabulation of ballots within a State. Bush II, 531 U.S.
                at 107.
                        136. The one-person, one-vote principle
                requires counting valid votes and not counting invalid
                votes. Reynolds, 377 U.S. at 554-55; Bush II, 531 U.S.
                at 103 (“the votes eligible for inclusion in the
                certification are the votes meeting the properly
                established legal requirements”).
                        137. The actions set out in Paragraphs 66-73
                (Georgia), 80-93 (Michigan), 44-55 (Pennsylvania),
                and 106-24 (Wisconsin) created differential voting
                standards in Defendant States Pennsylvania,
                Georgia, Michigan, and Wisconsin in violation of the
                Equal Protection Clause.
                        138. The actions set out in Paragraphs 66-73
                (Georgia), 80-93 (Michigan), 44-55 (Pennsylvania),
                and 106-24 (Wisconsin) violated the one-person, one-
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                vote principle in Defendant States Pennsylvania,
                Georgia, Michigan, and Wisconsin.
                        139. By the shared enterprise of the entire
                nation electing the President and Vice President,
                equal protection violations in one State can and do
                adversely affect and diminish the weight of votes cast
                in States that lawfully abide by the election structure
                set forth in the Constitution. Plaintiff State is
                therefore harmed by this unconstitutional conduct in
                violation of the Equal Protection or Due Process
                Clauses.
                             COUNT III: DUE PROCESS
                        140. Plaintiff State repeats and re-alleges the
                allegations above, as if fully set forth herein.
                        141. When election practices reach “the point
                of patent and fundamental unfairness,” the integrity
                of the election itself violates substantive due process.
                Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir. 1978);
                Duncan v. Poythress, 657 F.2d 691, 702 (5th Cir.
                1981); Florida State Conference of N.A.A.C.P. v.
                Browning, 522 F.3d 1153, 1183-84 (11th Cir. 2008);
                Roe v. State of Ala. By & Through Evans, 43 F.3d 574,
                580-82 (11th Cir. 1995); Roe v. State of Ala., 68 F.3d
                404, 407 (11th Cir. 1995); Marks v. Stinson, 19 F. 3d
                873, 878 (3rd Cir. 1994).
                        142. Under this Court’s precedents on proced-
                ural due process, not only intentional failure to follow
                election law as enacted by a State’s legislature but
                also random and unauthorized acts by state election
                officials and their designees in local government can
                violate the Due Process Clause. Parratt v. Taylor, 451
                U.S. 527, 537-41 (1981), overruled in part on other
                grounds by Daniels v. Williams, 474 U.S. 327, 330-31
                (1986); Hudson v. Palmer, 468 U.S. 517, 532 (1984).
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                The difference between intentional acts and random
                and unauthorized acts is the degree of pre-deprivation
                review.
                        143. Defendant           States           acted
                unconstitutionally to lower their election standards—
                including to allow invalid ballots to be counted and
                valid ballots to not be counted—with the express
                intent to favor their candidate for President and to
                alter the outcome of the 2020 election. In many
                instances these actions occurred in areas having a
                history of election fraud.
                        144. The actions set out in Paragraphs 66-73
                (Georgia), 80-93 (Michigan), 44-55 (Pennsylvania),
                and 106-24 (Wisconsin) constitute intentional
                violations of State election law by State election
                officials and their designees in Defendant States
                Pennsylvania, Georgia, Michigan, and Wisconsin, in
                violation of the Due Process Clause.
                               PRAYER FOR RELIEF
                     WHEREFORE, Plaintiff States respectfully
                request that this Court issue the following relief:
                        A.    Declare      that   Defendant      States
                Pennsylvania, Georgia, Michigan, and Wisconsin
                administered the 2020 presidential election in
                violation of the Electors Clause and the Fourteenth
                Amendment of the U.S. Constitution.
                        B.    Declare that any electoral college votes
                cast by such presidential electors appointed in
                Defendant States Pennsylvania, Georgia, Michigan,
                and Wisconsin are in violation of the Electors Clause
                and the Fourteenth Amendment of the U.S.
                Constitution and cannot be counted.
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                       C.     Enjoin Defendant States’ use of the 2020
                election results for the Office of President to appoint
                presidential electors to the Electoral College.
                       D.     Enjoin Defendant States’ use of the 2020
                election results for the Office of President to appoint
                presidential electors to the Electoral College and
                authorize, pursuant to the Court’s remedial authority,
                the Defendant States to conduct a special election to
                appoint presidential electors.
                       E.     If any of Defendant States have already
                appointed presidential electors to the Electoral
                College using the 2020 election results, direct such
                States’ legislatures, pursuant to 3 U.S.C. § 2 and U.S.
                CONST. art. II, § 1, cl. 2, to appoint a new set of
                presidential electors in a manner that does not violate
                the Electors Clause and the Fourteenth Amendment,
                or to appoint no presidential electors at all.
                       F.     Enjoin the Defendant States from
                certifying presidential electors or otherwise meeting
                for purposes of the electoral college pursuant to 3
                U.S.C. § 5, 3 U.S.C. § 7, or applicable law pending
                further order of this Court.
                       G.     Award costs to Plaintiff State.
                       H.     Grant such other relief as the Court
                deems just and proper.
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                                       41
                December 7, 2020       Respectfully submitted,

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                                        i
                              No. ______, Original


                 In the Supreme Court of the United States

                                STATE OF TEXAS,
                                                           Plaintiff,
                                       v.
                   COMMONWEALTH OF PENNSYLVANIA, STATE OF
                   STATE OF GEORGIA, STATE OF MICHIGAN, AND
                             STATE OF WISCONSIN,
                                                      Defendants.

                BRIEF IN SUPPORT OF MOTION FOR LEAVE
                      TO FILE BILL OF COMPLAINT

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                                 No. ______, Original


                 In the Supreme Court of the United States

                                   STATE OF TEXAS,
                                                               Plaintiff,
                                           v.
                   COMMONWEALTH OF PENNSYLVANIA, STATE OF
                   STATE OF GEORGIA, STATE OF MICHIGAN, AND
                             STATE OF WISCONSIN,
                                                            Defendants.

                               BRIEF IN SUPPORT OF
                          MOTION FOR LEAVE TO FILE
                    Pursuant to S.Ct. Rule 17.3 and U.S. CONST. art.
                III, § 2, the State of Texas (“Plaintiff State”)
                respectfully submits this brief in support of its Motion
                for Leave to File a Bill of Complaint against the
                Commonwealth of Pennsylvania and the States of
                Georgia, Michigan, and Wisconsin (collectively,
                “Defendant States”).
                            STATEMENT OF THE CASE
                    Lawful elections are at the heart of our freedoms.
                “No right is more precious in a free country than that
                of having a voice in the election of those who make the
                laws under which, as good citizens, we must live.
                Other rights, even the most basic, are illusory if the
                right to vote is undermined.” Wesberry v. Sanders, 376
                U.S. 1, 10 (1964). Trust in the integrity of that process
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                is the glue that binds our citizenry and the States in
                this Union.
                    Elections face the competing goals of maximizing
                and counting lawful votes but minimizing and
                excluding unlawful ones. Reynolds v. Sims, 377 U.S.
                533, 554-55 (1964); Bush v. Gore, 531 U.S. 98, 103
                (2000) (“the votes eligible for inclusion in the
                certification are the votes meeting the properly
                established legal requirements”) (“Bush II”); compare
                52 U.S.C. § 20501(b)(1)-(2) (2018) with id.
                § 20501(b)(3)-(4). Moreover, “the right of suffrage can
                be denied by a debasement or dilution of the weight of
                a citizen’s vote just as effectively as by wholly
                prohibiting the free exercise of the franchise.”
                Reynolds, 377 U.S. at 555. Reviewing election results
                requires not only counting lawful votes but also
                eliminating unlawful ones.
                     It is an understatement to say that 2020 was not
                a good year. In addition to a divided and partisan
                national mood, the country faced the COVID-19
                pandemic. Certain officials in Defendant States
                presented the pandemic as the justification for
                ignoring state laws regarding absentee and mail-in
                voting. Defendant States flooded their citizenry with
                tens of millions of ballot applications and ballots
                ignoring statutory controls as to how they were
                received, evaluated, and counted. Whether well
                intentioned or not, these unconstitutional and
                unlawful changes had the same uniform effect—they
                made the 2020 election less secure in Defendant
                States. Those changes were made in violation of
                relevant state laws and were made by non-legislative
                entities, without any consent by the state legislatures.
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                These unlawful acts thus directly violated the
                Constitution. U.S. CONST. art. I, § 4; id. art. II, § 1, cl.
                2.
                    This case presents a question of law: Did
                Defendant States violate the Electors Clause by
                taking non-legislative actions to change the election
                rules that would govern the appointment of
                presidential electors? Each of these States flagrantly
                violated the statutes enacted by relevant State
                legislatures, thereby violating the Electors Clause of
                Article II, Section 1, Clause 2 of the Constitution. By
                these unlawful acts, Defendant States have not only
                tainted the integrity of their own citizens’ votes, but
                their actions have also debased the votes of citizens in
                the States that remained loyal to the Constitution.
                    Elections for federal office must comport with
                federal constitutional standards, see Bush II, 531 U.S.
                at 103-105, and executive branch government officials
                cannot subvert these constitutional requirements, no
                matter their stated intent. For presidential elections,
                each State must appoint its electors to the electoral
                college in a manner that complies with the
                Constitution, specifically the Electors Clause
                requirement that only state legislatures may set the
                rules governing the appointment of electors and the
                elections upon which such appointment is based.1

                1    Subject to override by Congress, state legislatures have the
                exclusive power to regulate the time, place, and manner for
                electing Members of Congress, see U.S. CONST. art. I, § 4, which
                is distinct from legislatures’ exclusive and plenary authority on
                the appointment of presidential electors. When non-legislative
                actors purport to set state election law for presidential elections,
                they violate both the Elections Clause and the Electors Clause.
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                                               4
                Constitutional Background
                     The right to vote is protected by the by the Equal
                Protection Clause and the Due Process Clause. U.S.
                CONST. amend. XIV, § 1, cl. 3-4. Because “the right to
                vote is personal,” Reynolds, 377 U.S. at 561-62 (alter-
                ations omitted), “[e]very voter in a federal … election,
                whether he votes for a candidate with little chance of
                winning or for one with little chance of losing, has a
                right under the Constitution to have his vote fairly
                counted.” Anderson v. United States, 417 U.S. 211, 227
                (1974); Baker v. Carr, 369 U.S. 186, 208 (1962).
                Invalid or fraudulent votes debase or dilute the weight
                of each validly cast vote. Bush II, 531 U.S. at 105. The
                unequal treatment of votes within a state, and
                unequal standards for processing votes raise equal
                protection concerns. Id. Though Bush II did not
                involve an action between States, the concern that
                illegal votes can cancel out lawful votes does not stop
                at a State’s boundary in the context of a Presidential
                election.
                     The Electors Clause requires that each State
                “shall appoint” its presidential electors “in such
                Manner as the Legislature thereof may direct.” U.S.
                CONST. art. II, § 1, cl. 2 (emphasis added); cf. id. art. I,
                § 4, cl. 1 (similar for time, place, and manner of federal
                legislative elections). “[T]he state legislature’s power
                to select the manner for appointing electors is
                plenary,” Bush II, 531 U.S. at 104 (emphasis added),
                and sufficiently federal for this Court’s review. Bush
                v. Palm Beach Cty. Canvassing Bd., 531 U.S. 70, 76
                (2000) (“Bush I”). This textual feature of our
                Constitution was adopted to ensure the integrity of
                the presidential selection process: “Nothing was more
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                to be desired than that every practicable obstacle
                should be opposed to cabal, intrigue, and corruption.”
                FEDERALIST NO. 68 (Alexander Hamilton). When a
                State conducts a popular election to appoint electors,
                the State must comply with all constitutional
                requirements. Bush II, 531 U.S. at 104. When a State
                fails to conduct a valid election—for any reason—”the
                electors may be appointed on a subsequent day in such
                a manner as the legislature of such State may direct.”
                3 U.S.C. § 2 (emphasis added).
                Non-Legislative Changes Made in Violation of
                the Electors Clause
                     As set forth in the Complaint, executive and
                judicial officials made significant changes to the
                legislatively defined election rules in Defendant
                States. See Compl. at ¶¶ 66-73 (Georgia), 80-93
                (Michigan), 44-55 (Pennsylvania), 106-24 (Wisconsin).
                Taken together, these non-legislative changes did
                away with statutory ballot-security measures for
                absentee and mail-in ballots such as signature
                verification, witness requirements, and statutorily
                authorized secure ballot drop-off locations.
                     Citing the COVID-19 pandemic, Defendant States
                gutted the safeguards for absentee ballots through
                non-legislative actions, despite knowledge that
                absentee ballots are “the largest source of potential
                voter fraud,” BUILDING CONFIDENCE IN U.S.
                ELECTIONS: REPORT OF THE COMMISSION ON FEDERAL
                ELECTION REFORM, at 46 (Sept. 2005) (hereinafter,
                “CARTER-BAKER”), which is magnified when absentee
                balloting is shorn of ballot-integrity measures such as
                signature verification, witness requirements, or
                outer-envelope protections, or when absentee ballots
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                are processed and tabulated without bipartisan
                observation by poll watchers.
                    Without Defendant States’ combined 62 electoral
                votes, President Trump presumably has 232 electoral
                votes, and former Vice President Biden presumably
                has 244. Thus, Defendant States’ presidential electors
                will determine the outcome of the election.
                Alternatively, if Defendant States are unable to
                certify 37 or more presidential electors, neither
                candidate will have a majority in the electoral college,
                in which case the election would devolve to the House
                of Representatives under the Twelfth Amendment.
                    Defendant States experienced serious voting
                irregularities. See Compl. at ¶¶ 75-76 (Georgia), 97-
                101 (Michigan), 55-60 (Pennsylvania), 122-28
                (Wisconsin). At the time of this filing, Plaintiff State
                continues to investigate allegations of not only
                unlawful votes being counted but also fraud. Plaintiff
                State reserves the right to seek leave to amend the
                complaint as those investigations resolve. See S.Ct.
                Rule 17.2; FED. R. CIV. P. 15(a)(1)(A)-(B), (a)(2). But
                even the appearance of fraud in a close election is
                poisonous to democratic principles: “Voters who fear
                their legitimate votes will be outweighed by
                fraudulent ones will feel disenfranchised.” Purcell v.
                Gonzalez, 549 U.S. 1, 4 (2006); Crawford v. Marion
                County Election Bd., 553 U.S. 181, 189 (2008) (States
                have an interest in preventing voter fraud and
                ensuring voter confidence).
                              STANDARD OF REVIEW
                    This Court considers two primary factors when it
                decides whether to grant a State leave to file a bill of
                complaint against another State: (1) “the nature of the
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                interest of the complaining State,” and (2) ”the
                availability of an alternative forum in which the issue
                tendered can be resolved.” Mississippi v. Louisiana,
                506 U.S. 73, 77 (1992) (internal quotations omitted)
                Because original proceedings in this Court follow the
                Federal Rules of Civil Procedure, S.Ct. Rule 17.2, the
                facts for purposes of a motion for leave to file are the
                well-pleaded facts alleged in the complaint.
                Hernandez v. Mesa, 137 S.Ct. 2003, 2005 (2017).
                                       ARGUMENT
                I. THIS COURT HAS JURISDICTION OVER
                     PLAINTIFF STATE’S CLAIMS.
                     In order to grant leave to file, this Court first must
                assure itself of its jurisdiction, Steel Co. v. Citizens for
                a Better Env’t., 523 U.S. 83, 95 (1998); cf. Foman v.
                Davis, 371 U.S. 178, 182 (1962) (courts deny leave to
                file amended pleadings that would be futile). That
                standard is met here. Plaintiff State’s fundamental
                rights and interests are at stake. This Court is the
                only venue that can protect Plaintiff State’s electoral
                college votes from being cancelled by the unlawful and
                constitutionally tainted votes cast by electors
                appointed and certified by Defendant States.
                     A. The claims fall within this Court’s
                         constitutional and statutory subject-
                         matter jurisdiction.
                     The federal judicial power extends to
                “Controversies between two or more States.” U.S.
                CONST. art. III, § 2, and Congress has placed the
                jurisdiction for such suits exclusively with the
                Supreme Court: “The Supreme Court shall have
                original and exclusive jurisdiction of all controversies
                between two or more States.” 28 U.S.C. § 1251(a)
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                (emphasis added). This Court not only is a permissible
                court for hearing this action; it is the only court that
                can hear this action quickly enough to render relief
                sufficient to avoid constitutionally tainted votes in the
                electoral college and to place the appointment of
                Defendant States’ electors before their legislatures
                pursuant to 3 U.S.C. § 2 in time for a vote in the House
                of Representatives on January 6, 2021. See 3 U.S.C. §
                15. With that relief in place, the House can resolve the
                election on January 6, 2021, in time for the president
                to be selected by the constitutionally set date of
                January 20. U.S. CONST. amend. XX, § 1.
                    B. The claims arise under the Constitution.
                    When States violate their own election laws, they
                may argue that these violations are insufficiently
                federal to allow review in this Court. Cf. Foster v.
                Chatman, 136 S.Ct. 1737, 1745-46 (2016) (this Court
                lacks jurisdiction to review state-court decisions that
                “rest[] on an adequate and independent state law
                ground”). That attempted evasion would fail for two
                reasons.
                    First, in the election context, a state-court remedy
                or a state executive’s administrative action purporting
                to alter state election statutes implicates the Electors
                Clause. See Bush II, 531 U.S. at 105. Even a plausible
                federal-law defense to state action arises under
                federal law within the meaning of Article III. Mesa v.
                California, 489 U.S. 121, 136 (1989) (holding that “it
                is the raising of a federal question in the officer’s
                removal petition that constitutes the federal law
                under which the action against the federal officer
                arises for Art. III purposes”). Constitutional arising-
                under jurisdiction exceeds statutory federal-question
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                jurisdiction of federal district courts,2 and—indeed—
                we did not even have federal-question jurisdiction
                until 1875. Merrell Dow Pharm., 478 U.S. at 807.
                Plaintiff States’ Electoral Clause claims arise under
                the Constitution and so are federal, even if the only
                claim is that Defendant States violated their own
                state election statutes. Moreover, as is explained
                below, Defendant States’ actions injure the interests
                of Plaintiff State in the appointment of electors to the
                electoral college in a manner that is inconsistent with
                the Constitution.
                     Given this federal-law basis against these state
                actions, the state actions are not “independent” of the
                federal constitutional requirements that provide this
                Court jurisdiction. Fox Film Corp. v. Muller, 296 U.S.
                207, 210-11 (1935); cf. City of Chicago v. Int’l Coll. of
                Surgeons, 522 U.S. 156, 164 (1997) (noting that “even
                though state law creates a party’s causes of action, its
                case might still ‘arise under’ the laws of the United
                States if a well-pleaded complaint established that its
                right to relief under state law requires resolution of a
                substantial question of federal law” and collecting
                cases) (internal quotations and alterations omitted).
                Plaintiff State’s claims therefore fall within this
                Court’s jurisdiction.
                     Second, state election law is not purely a matter
                of state law because it applies “not only to elections to
                state offices, but also to the election of Presidential

                2    The statute for federal officer removal at issue in Mesa omits
                the well-pleaded complaint rule, id., which is a statutory
                restriction on federal question jurisdiction under 28 U.S.C. §
                1331. See Merrell Dow Pharm., Inc. v. Thompson, 478 U.S. 804,
                808 (1986).
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                electors,” meaning that state law operates, in part, “by
                virtue of a direct grant of authority made under Art.
                II, § 1, cl. 2, of the United States Constitution.” Bush
                I, 531 U.S. at 76. Logically, “any state authority to
                regulate election to [federal] offices could not precede
                their very creation by the Constitution,” meaning that
                any “such power had to be delegated to, rather than
                reserved by, the States.” Cook v. Gralike, 531 U.S.
                510, 522 (2001) (internal quotations omitted). “It is no
                original prerogative of State power to appoint a
                representative, a senator, or President for the Union.”
                J. Story, 1 COMMENTARIES ON THE CONSTITUTION OF
                THE UNITED STATES § 627 (3d ed. 1858). For these
                reasons, any “significant departure from the
                legislative scheme for appointing Presidential electors
                presents a federal constitutional question.” Bush II,
                531 U.S. at 113 (Rehnquist, C.J., concurring).
                     Under these circumstances, this Court has the
                power both to review and to remedy a violation of the
                Constitution. Significantly, parties do not need
                winning hands to establish jurisdiction. Instead,
                jurisdiction exists when “the right of the petitioners to
                recover under their complaint will be sustained if the
                Constitution and laws of the United States are given
                one construction,” even if the right “will be defeated if
                they are given another.” Bell v. Hood, 327 U.S. 678,
                685 (1946). At least as to jurisdiction, a plaintiff need
                survive only the low threshold that “the alleged claim
                under the Constitution or federal statutes [not] … be
                immaterial and made solely for the purpose of
                obtaining jurisdiction or … wholly insubstantial and
                frivolous.” Id. at 682. The bill of complaint meets that
                test.
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                    C. The claims raise a “case or controversy”
                        between the States.
                    Like any other action, an original action must
                meet the Article III criteria for a case or controversy:
                “it must appear that the complaining State has
                suffered a wrong through the action of the other State,
                furnishing ground for judicial redress, or is asserting
                a right against the other State which is susceptible of
                judicial enforcement according to the accepted
                principles of the common law or equity systems of
                jurisprudence.” Maryland v. Louisiana, 451 U.S. 725,
                735-36 (1981) (internal quotations omitted). Plaintiff
                State has standing under those rules.3
                    With voting, “‘the right of suffrage can be denied
                by a debasement or dilution of the weight of a citizen’s
                vote just as effectively as by wholly prohibiting the
                free exercise of the franchise.’” Bush II, 531 U.S. at
                105 (quoting Reynolds, 377 U.S. at 555). In
                presidential elections, “the impact of the votes cast in
                each State is affected by the votes cast for the various
                candidates in other States.” Anderson v. Celebrezze,
                460 U.S. 780, 795 (1983). Thus, votes in Defendant
                States affect the votes in Plaintiff State, as set forth
                in more detail below.



                3    At its constitutional minimum, standing doctrine measures
                the necessary effect on plaintiffs under a tripartite test:
                cognizable injury to the plaintiffs, causation by the challenged
                conduct, and redressable by a court. Lujan v. Defenders of
                Wildlife, 504 U.S. 555, 561-62 (1992). The rules for standing in
                state-versus-state actions is the same as the rules in other
                actions under Article III. See Maryland v. Louisiana, 451 U.S.
                725, 736 (1981).
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                         1. Plaintiff State suffers an injury in
                             fact.
                    The citizens of Plaintiff State have the right to
                demand that all other States abide by the
                constitutionally set rules in appointing presidential
                electors to the electoral college. “No right is more
                precious in a free country than that of having a voice
                in the election of those who make the laws under
                which, as good citizens, we must live. Other rights,
                even the most basic, are illusory if the right to vote is
                undermined.” Wesberry, 376 U.S. at 10; Yick Wo v.
                Hopkins, 118 U.S. 356, 370 (1886) (“the political
                franchise of voting” is “a fundamental political right,
                because preservative of all rights”). “Every voter in a
                federal … election, whether he votes for a candidate
                with little chance of winning or for one with little
                chance of losing, has a right under the Constitution to
                have his vote fairly counted.” Anderson v. United
                States, 417 U.S. at 227; Baker, 369 U.S. at 208. Put
                differently, “a citizen has a constitutionally protected
                right to participate in elections on an equal basis with
                other citizens in the jurisdiction,” Dunn v. Blumstein,
                405 U.S. 330, 336 (1972), and—unlike the residency
                durations required in Dunn—the “jurisdiction” here is
                the entire United States. In short, the rights at issue
                are congeable under Article III.
                    Significantly, Plaintiff State presses its own form
                of voting-rights injury as States. As with the one-
                person, one-vote principle for congressional
                redistricting in Wesberry, the equality of the States
                arises from the structure of the Constitution, not from
                the Equal Protection or Due Process Clauses. See
                Wesberry, 376 U.S. at 7-8; id. n.10 (expressly not
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                reaching claims under Fourteenth Amendment).
                Whereas the House represents the People
                proportionally, the Senate represents the States. See
                U.S. CONST. art. V, cl. 3 (“no state, without its consent,
                shall be deprived of its equal suffrage in the Senate”).
                While Americans likely care more about who is elected
                President, the States have a distinct interest in who
                is elected Vice President and thus who can cast the tie-
                breaking vote in the Senate. Through that interest,
                States suffer an Article III injury when another State
                violates federal law to affect the outcome of a
                presidential election. This injury is particularly acute
                in 2020, where a Senate majority often will hang on
                the Vice President’s tie-breaking vote because of the
                nearly equal—and, depending on the outcome of
                Georgia run-off elections in January, possibly equal—
                balance between political parties. Quite simply, it is
                vitally important to the States who becomes Vice
                President.
                     Because individual citizens may arguably suffer
                only a generalized grievance from Electors Clause
                violations, States have standing where their citizen
                voters would not, Lance v. Coffman, 549 U.S. 437, 442
                (2007) (distinguishing citizen plaintiffs from citizen
                relators who sued in the name of a state). In
                Massachusetts v. Environmental Protection Agency,
                549 U.S. 497 (2007), this Court held that states
                seeking to protect their sovereign interests are
                “entitled to special solicitude in our standing
                analysis.” Id. at 520. While Massachusetts arose in a
                different context—the same principles of federalism
                apply equally here to require special deference to the
                sovereign states on standing questions.
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                     In addition to standing for their own injuries,
                States can assert parens patriae standing for their
                citizens who are presidential electors.4 Like
                legislators, presidential electors assert “legislative
                injury” whenever allegedly improper actions deny
                them a working majority. Coleman v. Miller, 307 U.S.
                433, 435 (1939). The electoral college is a zero-sum
                game. If Defendant States’ unconstitutionally
                appointed electors vote for a presidential candidate
                opposed by the Plaintiff State’s electors, that operates
                to defeat Plaintiff State’s interests.5 Indeed, even
                without an electoral college majority, presidential
                electors suffer the same voting-debasement injury as
                voters generally: “It must be remembered that ‘the

                4    “The ‘parens patriae’ doctrine … is a recognition of the
                principle that the state, when a party to a suit involving a matter
                of sovereign interest, ‘must be deemed to represent all its
                citizens.’” New Jersey v. New York, 345 U.S. 369, 372-73 (1953)
                (quoting Kentucky v. Indiana, 281 U.S. 163, 173 (1930)).
                5    Because Plaintiff State appointed its electors consistent
                with the Constitution, they suffer injury if its electors are
                defeated by Defendant States’ unconstitutionally appointed
                electors. This injury is all the more acute because Plaintiff State
                has taken steps to prevent fraud. For example, Texas does not
                allow no excuse vote by mail (Texas Election Code Sections
                82.001-82.004); has strict signature verification procedures (Tex.
                Election Code §87.027(j); Early voting ballot boxes have two locks
                and different keys and other strict security measures (Tex.
                Election Code §§85.032(d) & 87.063); requires voter ID (House
                Comm. on Elections, Bill Analysis, Tex. H.B. 148, 83d R.S.
                (2013)); has witness requirements for assisting those in need
                (Tex. Election Code §§ 86.0052 & 86.0105), and does not allow
                ballot harvesting Tex. Election Code 86.006(f)(1-6). Unlike
                Defendant States, Plaintiff State neither weakened nor allowed
                the weakening of its ballot-integrity statutes by non-legislative
                means.
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                right of suffrage can be denied by a debasement or
                dilution of the weight of a citizen’s vote just as
                effectively as by wholly prohibiting the free exercise of
                the franchise.’” Bush II, 531 U.S. at 105 (quoting
                Reynolds v. Sims, 377 U. S. 533, 555 (1964)) (“Bush
                II”). Finally, once Plaintiff State has standing to
                challenge Defendant States’ unlawful actions,
                Plaintiff State may do so on any legal theory that
                undermines those actions. Duke Power Co. v. Carolina
                Envtl. Study Group, Inc., 438 U.S. 59, 78-81 (1978);
                DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 353 &
                n.5 (2006). Injuries to Plaintiff State’s electors serve
                as an Article III basis for a parens patriae action.
                         2. Defendant States caused the
                             injuries.
                     Non-legislative officials in Defendant States
                either directly caused the challenged violations of the
                Electors Clause or, in the case of Georgia, acquiesced
                to them in settling a federal lawsuit. The Defendants
                thus caused the Plaintiff’s injuries.
                         3. The requested relief would redress
                             the injuries.
                     This Court has authority to redress Plaintiff
                State’s injuries, and the requested relief will do so.
                     First, while Defendant States are responsible for
                their elections, this Court has authority to enjoin
                reliance on unconstitutional elections:
                     When the state legislature vests the right to
                     vote for President in its people, the right to
                     vote as the legislature has prescribed is
                     fundamental; and one source of its funda-
                     mental nature lies in the equal weight
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                    accorded to each vote and the equal dignity
                    owed to each voter.
                Bush II, 531 U.S. at 104; City of Boerne v. Flores, 521
                U.S. 507, 524 (1997) (“power to interpret the
                Constitution in a case or controversy remains in the
                Judiciary”). Plaintiff State does not ask this Court to
                decide who won the election; they only ask that the
                Court enjoin the clear violations of the Electors Clause
                of the Constitution.
                    Second, the relief that Plaintiff State requests—
                namely, remand to the State legislatures to allocate
                electors in a manner consistent with the
                Constitution—does not violate Defendant States’
                rights or exceed this Court’s power. The power to
                select electors is a plenary power of the State
                legislatures, and this remains so, without regard to
                state law:
                    This power is conferred upon the legislatures
                    of the States by the Constitution of the United
                    States, and cannot be taken from them or
                    modified by their State constitutions….
                    Whatever provisions may be made by statute,
                    or by the state constitution, to choose electors
                    by the people, there is no doubt of the right of
                    the legislature to resume the power at any
                    time, for it can neither be taken away nor
                    abdicated.
                McPherson v. Blacker, 146 U.S. 1, 35 (1892) (internal
                quotations omitted); accord Bush I, 531 U.S. at 76-77;
                Bush II, 531 U.S at 104.
                    Third, uncertainty of how Defendant States’
                legislatures will allocate their electors is irrelevant to
                the question of redressability:
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                     If a reviewing court agrees that the agency
                     misinterpreted the law, it will set aside the
                     agency’s action and remand the case – even
                     though the agency … might later, in the
                     exercise of its lawful discretion, reach the
                     same result for a different reason.
                FEC v. Akins, 524 U.S. 11, 25 (1998). Defendant
                States’ legislatures would remain free to exercise
                their plenary authority under the Electors Clause in
                any constitutional manner they wish. Under Akins,
                the simple act of reconsideration under lawful means
                is redress enough.
                     Fourth, the requested relief is consistent with
                federal election law: “Whenever any State has held an
                election for the purpose of choosing electors, and has
                failed to make a choice on the day prescribed by law,
                the electors may be appointed on a subsequent day in
                such a manner as the legislature of such State may
                direct.” 3 U.S.C. § 2. Regardless of the statutory
                deadlines for the electoral college to vote, this Court
                could enjoin reliance on the results from the
                constitutionally tainted November 3 election, remand
                the appointment of electors to Defendant States, and
                order Defendant States’ legislatures to certify their
                electors in a manner consistent with the Constitution,
                which could be accomplished well in advance of the
                statutory deadline of January 6 for House to count the
                presidential electors’ votes. 3 U.S.C. § 15.
                     D. This action is not moot and will not
                         become moot.
                     None of the looming election deadlines are
                constitutional, and they all are within this Court’s
                power to enjoin. Indeed, if this Court vacated a State’s
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                appointment of presidential electors, those electors
                could not vote on December 14, 2020; if the Court
                vacated their vote after the fact, the House of
                Representatives could not count those votes on
                January 6, 2021. Moreover, any remedial action can
                be complete well before January 6, 2020. Indeed, even
                the swearing in of the next President on January 20,
                2021, will not moot this case because review could
                outlast even the selection of the next President under
                “the ‘capable of repetition, yet evading review’
                doctrine,” which applies “in the context of election
                cases … when there are ‘as applied’ challenges as well
                as in the more typical case involving only facial
                attacks.” FEC v. Wisconsin Right to Life, Inc., 551 U.S.
                449, 463 (2007) (internal quotations omitted); accord
                Norman v. Reed, 502 U.S. 279, 287-88 (1992).
                Mootness is not, and will not become, an issue here.
                    E. This matter is ripe for review.
                    Plaintiff State’s claims are clearly ripe now, but
                they were not ripe before the election: “A claim is not
                ripe for adjudication if it rests upon contingent future
                events that may not occur as anticipated, or indeed
                may not occur at all.” Texas v. United States, 523 U.S.
                296, 300 (1998) (internal quotations and citations
                omitted). Prior to the election, there was no reason to
                know who would win the vote in any given State.
                    Ripeness also raises the question of laches, which
                Justice Blackmun called “precisely the opposite argu-
                ment” from ripeness. Lujan v. Nat’l Wildlife Fed’n,
                497 U.S. 871, 915 n.16 (1990) (Blackmun, J.,
                dissenting). Laches is an equitable defense against
                unreasonable delay in commencing suit. Petrella v.
                MGM, 572 U.S. 663, 667 (2014). This action was
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                neither unreasonably delayed nor is prejudicial to
                Defendant States.
                     Before the election, Plaintiff States had no ripe
                claim against a Defendant State:
                     “One cannot be guilty of laches until his right
                     ripens into one entitled to protection. For only
                     then can his torpor be deemed inexcusable.”
                What-A-Burger of Va., Inc. v. Whataburger, Inc., 357
                F.3d 441, 449-50 (4th Cir. 2004) (quoting 5 J. Thomas
                McCarthy, MCCARTHY ON TRADEMARKS AND UNFAIR
                COMPETITION § 31: 19 (4th ed. 2003); Gasser Chair Co.
                v. Infanti Chair Mfg. Corp., 60 F.3d 770, 777 (Fed. Cir.
                1995) (same); Profitness Physical Therapy Ctr. v. Pro-
                Fit Orthopedic & Sports Physical Therapy P.C., 314
                F.3d 62, 70 (2d Cir. 2002) (same). Plaintiff State could
                not have brought this action before the election
                results. The extent of the county-level deviations from
                election statutes in Defendant States became evident
                well after the election. Neither ripeness nor laches
                presents a timing problem here.
                     F. This action does not raise a non-
                         justiciable political question.
                     The “political questions doctrine” does not apply
                here. Under that doctrine, federal courts will decline
                to review issues that the Constitution delegates to one
                of the other branches—the “political branches”—of
                government. While picking electors involves political
                rights, the Supreme Court has ruled in a line of cases
                beginning with Baker that constitutional claims
                related to voting (other than claims brought under the
                Guaranty Clause) are justiciable in the federal courts.
                As the Court held in Baker, litigation over political
                rights is not the same as a political question:
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                     We hold that this challenge to an
                     apportionment presents no nonjusticiable
                     “political question.” The mere fact that the
                     suit seeks protection of a political right does
                     not mean it presents a political question. Such
                     an objection “is little more than a play upon
                     words.”
                Baker, 369 U.S. at 209. This is no political question; it
                is a constitutional one that this Court should answer.
                     G. No adequate alternate remedy or forum
                         exists.
                     In determining whether to hear a case under this
                Court’s original jurisdiction, the Court has considered
                whether a plaintiff State “has another adequate forum
                in which to settle [its] claim.” United States v. Nevada,
                412 U.S. 534, 538 (1973). This equitable limit does not
                apply here because Plaintiff State cannot sue
                Defendant States in any other forum.
                     To the extent that Defendant States wish to avail
                themselves of 3 U.S.C. § 5’s safe harbor, Bush I, 531
                U.S. at 77-78, this action will not meaningfully stand
                in their way:
                     The State, of course, after granting the
                     franchise in the special context of Article II,
                     can take back the power to appoint electors. …
                     There is no doubt of the right of the legislature
                     to resume the power at any time, for it can
                     neither be taken away nor abdicated[.]
                Bush II, 531 U.S. at 104 (citations and internal
                quotations omitted).6 Defendant States’ legislature

                6   Indeed, the Constitution also includes another backstop: “if
                no person have such majority [of electoral votes], then from the
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                will remain free under the Constitution to appoint
                electors or vote in any constitutional manner they
                wish. The only thing that they cannot do—and should
                not wish to do—is to rely on an allocation conducted
                in violation of the Constitution to determine the
                appointment of presidential electors.
                    Moreover, if this Court agrees with Plaintiff State
                that Defendant States’ appointment of presidential
                electors under the recently conducted elections would
                be unconstitutional, then the statutorily created safe
                harbor cannot be used as a justification for a violation
                of the Constitution. The safe-harbor framework
                created by statute would have to yield in order to
                ensure that the Constitution was not violated.
                    It is of no moment that Defendants’ state laws may
                purport to tether state legislatures to popular votes.
                Those state limits on a state legislature’s exercising
                federal constitutional functions cannot block action
                because the federal Constitution “transcends any
                limitations sought to be imposed by the people of a
                State” under this Court’s precedents. Leser v. Garnett,
                258 U.S. 130, 137 (1922); see also Bush I, 531 U.S. at
                77; United States Term Limits v. Thornton, 514 U.S.
                779, 805 (1995) (“the power to regulate the incidents
                of the federal system is not a reserved power of the
                States, but rather is delegated by the Constitution”).
                As this Court recognized in McPherson v. Blacker, the
                authority to choose presidential electors:



                persons having the highest numbers not exceeding three on the
                list of those voted for as President, the House of Representatives
                shall choose immediately, by ballot.” U.S. CONST. amend. XII.
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                    is conferred upon the legislatures of the states
                    by the Constitution of the United States, and
                    cannot be taken from them or modified by
                    their state constitutions. ... Whatever
                    provisions may be made by statute, or by the
                    state constitution, to choose electors by the
                    people, there is no doubt of the right of the
                    legislature to resume the power at any time, for
                    it can neither be taken away or abdicated.
                146 U.S. 1, 35 (1892) (emphasis added) (internal
                quotations omitted). Defendant States would suffer no
                cognizable injury from this Court’s enjoining their
                reliance on an unconstitutional vote.
                II. THIS CASE PRESENTS CONSTITUTIONAL
                    QUESTIONS OF IMMENSE NATIONAL
                    CONSEQUENCE THAT WARRANT THIS
                    COURT’S DISCRETIONARY REVIEW.
                    Electoral integrity ensures the legitimacy of not
                just our governmental institutions, but the Republic
                itself. See Wesberry, 376 U.S. at 10. “Voters who fear
                their legitimate votes will be outweighed by
                fraudulent ones will feel disenfranchised.” Purcell,
                549 U.S. at 4. Against that backdrop, few cases could
                warrant this Court’s review more than this one. In
                addition, the constitutionality of the process for
                selecting the President is of extreme national
                importance. If Defendant States are permitted to
                violate the requirements of the Constitution in the
                appointment of their electors, the resulting vote of the
                electoral college not only lacks constitutional
                legitimacy, but the Constitution itself will be forever
                sullied.
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                     Though the Court claims “discretion when
                accepting original cases, even as to actions between
                States where [its] jurisdiction is exclusive,” Wyoming
                v. Oklahoma, 502 U.S. 437, 450 (1992) (internal
                quotations omitted), this is not a case where the Court
                should apply that discretion “sparingly.” Id. While
                Plaintiff State disputes that exercising this Court’s
                original jurisdiction is discretionary, see Section III,
                infra, the clear unlawful abrogation of Defendant
                States’ election laws designed to ensure election
                integrity by a few officials, and examples of material
                irregularities in the 2020 election cumulatively
                warrant this Court’s exercising jurisdiction as this
                Court’s “unsought responsibility to resolve the federal
                and constitutional issues the judicial system has been
                forced to confront.” Bush II, 531 U.S. at 111; see also
                Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803)
                (“It is emphatically the province and duty of the
                judicial department to say what the law is.”). While
                isolated irregularities could be “garden-variety”
                election irregularities that do not raise a federal
                question,7 the closeness of the presidential election
                results, combined with the unconstitutional setting-
                aside of state election laws by non-legislative actors
                call both the result and the process into question.




                7    “To be sure, ‘garden variety election irregularities’ may not
                present facts sufficient to offend the Constitution’s guarantee of
                due process[.]” Hunter v. Hamilton Cty. Bd. of Elections, 635 F.3d
                219, 232 (6th Cir. 2011) (quoting Griffin, 570 F.2d at 1077-79)).
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                     A. The 2020 election suffered from serious
                         irregularities that constitutionally
                         prohibit using the reported results.
                     Defendant States’ administration of the 2020
                election violated several constitutional requirements
                and, thus, violated the rights that Plaintiff State
                seeks to protect. “When the state legislature vests the
                right to vote for President in its people, the right to
                vote as the legislature has prescribed is fundamental;
                and one source of its fundamental nature lies in the
                equal weight accorded to each vote and the equal
                dignity owed to each voter.” Bush II, 531 U.S. at 104.8
                Even a State legislature vested with authority to
                regulate election procedures lacks authority to
                “abridg[e …] fundamental rights, such as the right to
                vote.” Tashjian v. Republican Party, 479 U.S. 208, 217
                (1986). As demonstrated in this section, Defendant
                States’ administration of the 2020 election violated
                the Electors Clause, which renders invalid any
                appointment of electors based upon those election
                results, unless the relevant State legislatures review
                and modify or expressly ratify those results as
                sufficient to determine the appointment of electors.
                For example, even without fraud or nefarious intent,
                a mail-in vote not subjected to the State legislature’s
                ballot-integrity measures cannot be counted.
                     It does not matter that a judicial or executive
                officer sought to bypass that screening in response to
                the COVID pandemic: the choice was not theirs to


                8   The right to vote is “a fundamental political right, because
                preservative of all rights.” Reynolds, 377 U.S. at 561-62 (internal
                quotations omitted).
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                make. “Government is not free to disregard the [the
                Constitution] in times of crisis.” Roman Catholic
                Diocese of Brooklyn, New York v. Cuomo, 592 U.S. ___
                (Nov. 25, 2020) (Gorsuch, J., concurring). With all
                unlawful votes discounted, the election result is an
                open question that this Court must address. Under 3
                U.S.C. § 2, the State legislatures may answer the
                question, but the question must be asked here.
                        1. Defendant States violated the
                             Electors Clause by modifying their
                             legislatures’ election laws through
                             non-legislative action.
                     The Electors Clause grants authority to state
                legislatures under both horizontal and vertical
                separation of powers. It provides authority to each
                State—not to federal actors—the authority to dictate
                the manner of selecting presidential electors. And
                within each State, it explicitly allocates that authority
                to a single branch of State government: to the
                “Legislature thereof.” U.S. CONST. art. II, § 1, cl. 2.
                State legislatures’ primacy vis-à-vis non-legislative
                actors—whether State or federal—is even more
                significant than congressional primacy vis-à-vis State
                legislatures.
                     The State legislatures’ authority is plenary. Bush
                II, 531 U.S. at 104. It “cannot be taken from them or
                modified” even through “their state constitutions.”
                McPherson, 146 U.S. at 35; Bush I, 531 U.S at 76-77;
                Bush II, 531 U.S at 104. The Framers allocated
                election authority to State legislatures as the branch
                closest—and most accountable—to the People. See,
                e.g., Robert G. Natelson, The Original Scope of the
                Congressional Power to Regulate Elections, 13 U. PA.
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                J. CONST. L. 1, 31 (2010) (collecting Founding-era
                documents); cf. THE FEDERALIST NO. 57, at 350 (C.
                Rossiter, ed. 2003) (J. Madison) (“House of
                Representatives is so constituted as to support in its
                members a habitual recollection of their dependence
                on the people”). Thus, only the State legislatures are
                permitted to create or modify the respective State’s
                rules for the appointment of presidential electors. U.S.
                CONST. art. II, § 1, cl. 2.
                     “[T]here must be a substantial regulation of
                elections if they are to be fair and honest and if some
                sort of order, rather than chaos, is to accompany the
                democratic processes.” Burdick v. Takushi, 504 U.S.
                428, 433 (1992) (interior quotations omitted). Thus,
                for example, deadlines are necessary, even if some
                votes sent via absentee ballot do not arrive timely.
                Rosario v. Rockefeller, 410 U.S. 752, 758 (1973). Even
                more importantly in this pandemic year with
                expanded mail-in voting, ballot-integrity measures—
                e.g., witness requirements, signature verification, and
                the like—are an essential component of any
                legislative expansion of mail-in voting. See CARTER-
                BAKER, at 46 (absentee ballots are “the largest source
                of potential voter fraud”). Though it may be tempting
                to permit a breakdown of the constitutional order in
                the face of a global pandemic, the rule of law demands
                otherwise.
                     Specifically, because the Electors Clause makes
                clear that state legislative authority is exclusive, non-
                legislative actors lack authority to amend statutes.
                Republican Party of Pa. v. Boockvar, No. 20-542, 2020
                U.S. LEXIS 5188, at *4 (Oct. 28, 2020) (“there is a
                strong likelihood that the State Supreme Court
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                decision violates the Federal Constitution”) (Alito, J.,
                concurring); Wisconsin State Legis., No. 20A66, 2020
                U.S. LEXIS 5187, at *11-14 (Oct. 26, 2020)
                (Kavanaugh, J., concurring in denial of application to
                vacate stay); cf. Grayned v. City of Rockford, 408 U.S.
                104, 110 (1972) (“it is not within our power to construe
                and narrow state laws”); Free Enter. Fund v. Pub. Co.
                Accounting Oversight Bd., 561 U.S. 477, 509-10 (2010)
                (“editorial freedom … [to “blue-pencil” statutes]
                belongs to the Legislature, not the Judiciary”). That
                said, courts can enjoin elections or even enforcement
                of unconstitutional election laws, but they cannot
                rewrite the law in federal presidential elections.
                     For example, if a state court enjoins or modifies
                ballot-integrity measures adopted to allow absentee
                or mail-in voting, that invalidates ballots cast under
                the relaxed standard unless the legislature has—prior
                to the election—ratified the new procedure. Without
                pre-election legislative ratification, results based on
                the treatment and tabulation of votes done in
                violation of state law cannot be used to appoint
                presidential electors.
                     Elections must be lawful contests, but they should
                not be mere litigation contests where the side with the
                most lawyers wins. As with the explosion of nation-
                wide injunctions, the explosion of challenges to State
                election law for partisan advantage in the lead-up to
                the 2020 election “is not normal.” Dep’t of Homeland
                Sec. v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch,
                J., concurring in the grant of stay). Nor is it healthy.
                Under the “Purcell principle,” federal courts generally
                avoid enjoining state election laws in the period close
                to an election. Purcell, 549 U.S. at 4-5 (citing “voter
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                confusion and consequent incentive to remain away
                from the polls”). Purcell raises valid concerns about
                confusion in the run-up to elections, but judicial
                election-related injunctions also raise post-election
                concerns. For example, if a state court enjoins ballot-
                integrity measures adopted to secure absentee or
                mail-in voting, that invalidates ballots cast under the
                relaxed standard unless the State legislature has had
                time to ratify the new procedure. Without either pre-
                election legislative ratification or a severability clause
                in the legislation that created the rules for absentee
                voting by mail, the state court’s actions operate to
                violate the Electors Clause.
                         2. State and local administrator’s
                             systemic failure to follow State
                             election qualifies as an unlawful
                             amendment of State law.
                    When non-legislative state and local executive
                actors engage in systemic or intentional failure to
                comply with their State’s duly enacted election laws,
                they adopt by executive fiat a de facto equivalent of an
                impermissible amendment of State election law by an
                executive or judicial officer. See Section II.A.1, supra.
                This Court recognizes an executive’s “consciously and
                expressly adopt[ing] a general policy that is so
                extreme as to amount to an abdication of its statutory
                responsibilities” as another form of reviewable final
                action, even if the policy is not a written policy.
                Heckler v. Chaney, 470 U.S. 821, 833 n.4 (1985)
                (interior quotations omitted); accord id. at 839
                (Brennan, J., concurring). Without a bona fide
                amendment to State election law by the legislature,
                executive officers must follow state law. Cf. Morton v.
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                Ruiz, 415 U.S. 199, 235 (1974); Service v. Dulles, 354
                U.S. 363, 388-89 (1957). The wrinkle here is that the
                non-legislative actors lack the authority under the
                federal Constitution to enact a bona fide amendment,
                regardless of whatever COVID-related emergency
                power they may have.
                     This form of executive nullification of state law by
                statewide, county, or city officers is a variant of
                impermissible amendment by a non-legislative actor.
                See Section II.A.1, supra. Such nullification is always
                unconstitutional, but it is especially egregious when it
                eliminates legislative safeguards for election integrity
                (e.g., signature and witness requirements for absentee
                ballots, poll watchers9). Systemic failure by statewide,
                county, or city election officials to follow State election
                law is no more permissible than formal amendments
                by an executive or judicial actor.
                          3. Defendant States’ administration of
                             the 2020 election violated the
                             Fourteenth Amendment.
                     In each of Defendant States, important rules
                governing the sending, receipt, validity, and counting
                of ballots were modified in a manner that varied from
                county to county. These variations from county to
                county violated the Equal Protection Clause, as this

                9    Poll watchers are “prophylactic measures designed to pre-
                vent election fraud,” Harris v. Conradi, 675 F.2d 1212, 1216 n.10
                (11th Cir. 1982), and “to insure against tampering with the
                voting process.” Baer v. Meyer, 728 F.2d 471, 476 (10th Cir.
                1984). For example, poll monitors reported that 199 Chicago
                voters cast 300 party-line Democratic votes, as well as three
                party-line Republican votes in one election. Barr v. Chatman,
                397 F.2d 515, 515-16 & n.3 (7th Cir. 1968).
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                Court explained at length in Bush II. Each vote must
                be treated equally. “When the state legislature vests
                the right to vote for President in its people, the right
                to vote as the legislature has prescribed is
                fundamental; and one source of its fundamental
                nature lies in the equal weight accorded to each vote
                and the equal dignity owed to each voter.” Bush II, 531
                U.S. at 104. The Equal Protection Clause demands
                uniform “statewide standards for determining what is
                a legal vote.” Id. at 110.
                    Differential intrastate voting standards are
                “hostile to the one man, one vote basis of our
                representative government.” Bush II, 531 U.S. at 107
                (internal quotations omitted). These variations from
                county to county also appear to have operated to affect
                the election result. For example, the obstruction of
                poll-watcher requirements that occurred in
                Michigan’s Wayne County may have contributed to
                the unusually high number of more than 173,000
                votes which are not tied to a registered voter and that
                71 percent of the precincts are out of balance with no
                explanation. Compl. ¶ 97.
                    Regardless of whether the modification of legal
                standards in some counties in Defendant States tilted
                the election outcome in those States, it is clear that
                the standards for determining what is a legal vote
                varied greatly from county to county. That constitutes
                a clear violation of the Equal Protection Clause; and
                it calls into question the constitutionality of any
                Electors appointed by Defendant States based on such
                an unconstitutional election.
                    The Fourteenth Amendment’s due process clause
                protects the fundamental right to vote against “[t]he
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                disenfranchisement of a state electorate.” Duncan v.
                Poythress, 657 F.2d 691, 702 (5th Cir. 1981).
                Weakening or eliminating signature-validating
                requirements, then restricting poll watchers also
                undermines the 2020 election’s integrity—especially
                as practiced in urban centers with histories of
                electoral fraud—also violates substantive due process.
                Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir. 1978)
                (“violation of the due process clause may be indicated”
                if “election process itself reaches the point of patent
                and fundamental unfairness”); see also Florida State
                Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153,
                1183-84 (11th Cir. 2008); Roe v. State of Ala. By &
                Through Evans, 43 F.3d 574, 580-82 (11th Cir. 1995);
                Roe v. State of Ala., 68 F.3d 404, 407 (11th Cir. 1995);
                Marks v. Stinson, 19 F. 3d 873, 878 (3rd Cir. 1994).
                Defendant States made concerted efforts to weaken or
                nullify their legislatures’ ballot-integrity measures for
                the unprecedented deluge of mail-in ballots, citing the
                COVID-19 pandemic as a rationale. But “Government
                is not free to disregard the [the Constitution] in times
                of crisis.” Roman Catholic Diocese of Brooklyn, 592
                U.S. at ___ (Gorsuch, J., concurring).
                     Similarly, failing to follow procedural require-
                ments for amending election standards violates
                procedural due process. Brown v. O’Brien, 469 F.2d
                563, 567 (D.C. Cir.), vacated as moot, 409 U.S. 816
                (1972). Under this Court’s precedents on procedural
                due process, not only intentional failure to follow
                election law as enacted by a State’s legislature but
                also random and unauthorized acts by state election
                officials and their designees in local government can
                violate the Due Process Clause. Parratt v. Taylor, 451
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                U.S. 527, 537-41 (1981), overruled in part on other
                grounds by Daniels v. Williams, 474 U.S. 327, 330-31
                (1986); Hudson v. Palmer, 468 U.S. 517, 532 (1984).
                Here, the violations all were intentional, even if done
                for the reason of addressing the COVID-19 pandemic.
                     While Plaintiff State disputes that exercising this
                Court’s original jurisdiction is discretionary, see
                Section III, infra, the clear unlawful abrogation of
                Defendant States’ election laws designed to ensure
                election integrity by a few officials, and examples of
                material irregularities in the 2020 election
                cumulatively     warrant      exercising    jurisdiction.
                Although isolated irregularities could be “garden-
                variety” election disputes that do not raise a federal
                question,10 the closeness of election results in swing
                states combines with unprecedented expansion in the
                use of fraud-prone mail-in ballots—millions of which
                were also mailed out—and received and counted—
                without verification—often in violation of express
                state laws by non-legislative actors, see Sections
                II.A.1-II.A.2, supra, call both the result and the
                process into question. For an office as important as the
                presidency, these clear violations of the Constitution,
                coupled with a reasonable inference of unconstit-
                utional ballots being cast in numbers that far exceed
                the margin of former Vice President Biden’s vote tally
                over President Trump demands the attention of this
                Court.


                10   “To be sure, ‘garden variety election irregularities’ may not
                present facts sufficient to offend the Constitution’s guarantee of
                due process[.]” Hunter, 635 F.3d at 232 (quoting Griffin, 570 F.2d
                at 1077-79)).
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                    While investigations into allegations of unlawful
                votes being counted and fraud continue, even the
                appearance of fraud in a close election would justify
                exercising the Court’s discretion to grant the motion
                for leave to file. Regardless, Defendant States’
                violations of the Constitution would warrant this
                Court’s review, even if no election fraud had resulted.
                    B. A ruling on the 2020 election would
                         preserve the Constitution and help
                         prevent irregularities in future
                         elections.
                    In addition to ensuring that the 2020 presidential
                election is resolved in a manner consistent with the
                Constitution, this Court must review the violations
                that occurred in Defendant States to enable Congress
                and State legislatures to avoid future chaos and
                constitutional violations. Unless this Court acts to
                review       this    presidential      election,   these
                unconstitutional and unilateral violations of state
                election laws will continue in the future.
                    Regardless of how the 2020 election resolves and
                whatever this Court does with respect to the 2020
                election, it is imperative for our system of government
                that elections follow the clear constitutional mandates
                for all future elections. Just as this Court in Bush II
                provided constitutional guidance to all states
                regarding the equal treatment of ballots from county
                to county in 2000, this Court should now provide a
                clear statement that non-legislative modification of
                rules governing presidential elections violate the
                Electors Clause. Such a ruling will discourage in the
                future the kind of non-legislative election
                modifications that proliferated in 2020.
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                III. REVIEW IS NOT DISCRETIONARY.
                     Although this Court’s original jurisdiction prece-
                dents would justify the Court’s hearing this matter
                under the Court’s discretion, see Section II, supra,
                Plaintiff State respectfully submits that the Court’s
                review is not discretionary. To the contrary, the plain
                text of § 1251(a) provides exclusive jurisdiction, not
                discretionary jurisdiction. See 28 U.S.C. § 1251(a). In
                addition, no other remedy exists for these interstate
                challenges, see Section I.G, supra, and some court
                must have jurisdiction for these weighty issues. See
                Mostyn v. Fabrigas, 98 Eng. Rep. 1021, 1028 (K.B.
                1774) (“if there is no other mode of trial, that alone
                will give the King’s courts a jurisdiction”). As
                individual Justices have concluded, the issue “bears
                reconsideration.” Nebraska v. Colorado, 136 S.Ct.
                1034, 1035 (2016) (Thomas, J., dissenting, joined by
                Alito, J.); accord New Mexico v. Colorado, 137 S.Ct.
                2319 (2017) (Thomas, J., dissenting) (same). Plaintiff
                State respectfully submits that that reconsideration
                would be warranted to the extent that the Court does
                not elect to hear this matter in its discretion.
                IV. THIS CASE WARRANTS SUMMARY
                     DISPOSITION OR EXPEDITED BRIEFING.
                     The issues presented here are neither fact-bound
                nor complex, and their vital importance urgently
                needs a resolution. Plaintiff State will move this Court
                for expedited consideration but also suggest that this
                case is a prime candidate for summary disposition
                because the material facts—namely, that the COVID-
                19 pandemic prompted non-legislative actors to
                unlawfully modify Defendant States’ election laws,
                and carry out an election in violation of basic voter
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                integrity statutes—are not in serious dispute.
                California v. United States, 457 U.S. 273, 278 (1982);
                South Carolina v. Katzenbach, 383 U.S. 301, 307
                (1966). This case presents a pure and straightforward
                question of law that requires neither finding
                additional facts nor briefing beyond the threshold
                issues presented here.
                                   CONCLUSION
                    Leave to file the Bill of Complaint should be
                granted.
                December 7, 2020          Respectfully submitted,

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